Case
Case1:22-cr-20340-KMW
     1:22-cr-20340-KMW Document
                       Document105-3
                                60-2 Entered
                                     Enteredon
                                             onFLSD
                                               FLSDDocket
                                                    Docket02/17/2023
                                                          04/26/2023 Page
                                                                     Page11of
                                                                           of87
                                                                              87




           EXHIBIT A




                                                                         22-20340-CR-WILLIAMS(s)




                                                                            SH-3
Case
Case1:22-cr-20340-KMW
     1:22-cr-20340-KMW Document
                       Document105-3
                                60-2 Entered
                                     Enteredon
                                             onFLSD
                                               FLSDDocket
                                                    Docket02/17/2023
                                                          04/26/2023 Page
                                                                     Page22of
                                                                           of87
                                                                              87

         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    FERNANDO GATTORNO: The time is approximately 10:19 a.m. This is Special Agent
    Fernando Gattorno, U.S. Fish and Wildlife Service. We’re in JFK Airport. We’re going to be
    speaking with Mr. Masphal Kry, Forestry Administration Deputy Director or Director.

    DOROTHY MANERA: This is special agent Fernando Gattorno with the U.S. Fish and
    Wildlife Service as well.

    MASPHAL KRY: All right.

    DOROTHY MANERA: And do you -- how’s your English? Do you speak English?

    MASPHAL KRY: Yes, but not so well. Not so good.

    DOROTHY MANERA: Not so good?

    MASPHAL KRY: Yeah, not so good.

    DOROTHY MANERA: Okay.

    FERNANDO GATTORNO: How do you prefer to be addressed? Masphal or Kry?

    MASPHAL KRY: Yeah. Masphal. Yeah, Masphal. Kry is family name.

    FERNANDO GATTORNO: Okay, perfect. Masphal, is his name. My name is Fernando
    Gattorno, I’m a Special Agent with the Fish and Wildlife Service.

    MASPHAL KRY: [INDISCERNIBLE 00:00:51].

    FERNANDO GATTORNO: That is Agent Manera.

    DOROTHY MANERA: And could you, could you read, can you read English?

    MASPHAL KRY: Yeah.

    DOROTHY MANERA: You can read English?

    MASPHAL KRY: Yeah.

    DOROTHY MANERA: Okay. Did you have English in school?

    MASPHAL KRY: Yeah but, in my country, I took the private school [INDISCERNIBLE
    00:01:07].

    DOROTHY MANERA: Okay.

    MASPHAL KRY: [INDISCERNIBLE 00:01:12].


                                                                                                 1
Case
Case1:22-cr-20340-KMW
     1:22-cr-20340-KMW Document
                       Document105-3
                                60-2 Entered
                                     Enteredon
                                             onFLSD
                                               FLSDDocket
                                                    Docket02/17/2023
                                                          04/26/2023 Page
                                                                     Page33of
                                                                           of87
                                                                              87

         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    DOROTHY MANERA: So the reason that you were brought back here is because you’re
    going to be placed under arrest. The United States has a warrant for your arrest. For trafficking in
    wildlife, in particular, primates.

    MASPHAL KRY: No. No. How can I traffic the wildlife?

    DOROTHY MANERA: Well, so, before, before we go there, we’re just going to show you a
    copy of the arrest warrant.

    FERNANDO GATTORNO: Well, there’s two things we’re going to do. Number one, I’m
    going to show you a copy of the arrest warrant, and number two, I’m going to show you a
    Miranda waiver. Now, it’s, do you speak Khmer?

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: So, the Miranda waiver is in Khmer. This is your active arrest
    warrant, as we had it. It’s explained on there. I’m going to go ahead and I’m going to read you
    your Miranda at this moment. It’s in English; please follow along here. I’m just going to go
    ahead and read you your rights here in the United States. Before I ask you any questions, I want
    to explain your rights to you. You have a right to remain silent. Anything you say can be used
    against you in a court of law.

    MASPHAL KRY: [INDISCERNIBLE 00:02:22].

    FERNANDO GATTORNO: Let me know when you’re ready. You good?

    MASPHAL KRY: [INDISCERNIBLE 00:02:25].

    FERNANDO GATTORNO: You have a right to counsel with a lawyer before questioning and
    have a lawyer present during questioning.

    MASPHAL KRY: I have a friend coming with from [INDISCERNIBLE 00:02:41]. Can he
    come and sit with me?

    FERNANDO GATTORNO: Is your friend an attorney?

    MASPHAL KRY: No.

    FERNANDO GATTORNO: Then he cannot.

    MASPHAL KRY: [INDISCERNIBLE 00:02:47].

    FERNANDO GATTORNO: I’m going to go ahead and I’m going to finish this really quick.
    So, you have the right to counsel with an attorney before questioning and have a lawyer present
    during questioning.


                                                                                                       2
Case
Case1:22-cr-20340-KMW
     1:22-cr-20340-KMW Document
                       Document105-3
                                60-2 Entered
                                     Enteredon
                                             onFLSD
                                               FLSDDocket
                                                    Docket02/17/2023
                                                          04/26/2023 Page
                                                                     Page44of
                                                                           of87
                                                                              87

         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    MASPHAL KRY: [INDISCERNIBLE 00:02:56].

    FERNANDO GATTORNO: If you cannot afford a lawyer, one will be appointed to represent
    you free of charge prior to questioning. Do you understand what I’ve just read to you?

    MASPHAL KRY: [INDISCERNIBLE 00:03:05]

    FERNANDO GATTORNO: What is on here? Do you understand this -- these are just questions;

    MASPHAL KRY: [INDISCERNIBLE 00:03:08]

    FERNANDO GATTORNO: Do you understand what’s on here?

    MASPHAL KRY: [INDISCERNIBLE 00:03:13]. That I didn’t had the the the the lawyer.

    FERNANDO GATTORNO: Right, that’s one of your rights. If you cannot afford a lawyer,
    one will be appointed to represent you free of charge prior to questioning. We want to ask you a
    couple questions. What I need to get through is that you understand your rights here in the
    United States.

    MASPHAL KRY: All right.

    FERNANDO GATTORNO: They’re given to everyone, regardless of citizenship.

    MASPHAL KRY: So, all right okay, how long will it take for the questioning?

    FERNANDO GATTORNO: It just depends how open you are about the questioning.

    MASPHAL KRY: And because, like my flight’s probably in around three o’clock.

    FERNANDO GATTORNO: Yeah, I don’t think you’re understanding. You’re not going to
    make your flight.

    MASPHAL KRY: Why?

    FERNANDO GATTORNO: Because a judge wants to see you.

    MASPHAL KRY: Oh. [INDISCERNIBLE 00:04:14]

    FERNANDO GATTORNO: Do you understand?

    MASPHAL KRY: It’s impossible like that.

    FERNANDO GATTORNO: This is your warrant right here. I’m telling you it’s not impossible.
    I’m telling you we have an arrest warrant for you. My question to you is, do you understand the


                                                                                                       3
Case
Case1:22-cr-20340-KMW
     1:22-cr-20340-KMW Document
                       Document105-3
                                60-2 Entered
                                     Enteredon
                                             onFLSD
                                               FLSDDocket
                                                    Docket02/17/2023
                                                          04/26/2023 Page
                                                                     Page55of
                                                                           of87
                                                                              87

         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    rights that I’ve read you? Do you understand this? There’s a section down here, if you
    understand it, you sign it and I sign it.

    MASPHAL KRY: So, [INDISCERNIBLE 00:04:41], I need my stuff, is able to, maybe my
    friend can help me to to to understand those things mean [INDISCERNIBLE 00:04:47].

    FERNANDO GATTORNO: Your friend?

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: Your friend’s going to make the flight. He’s not -- I’m not, we’re
    not concerned with him.

    MASPHAL KRY: Yeah, but just for me [INDISCERNIBLE 00:04:55], I need to accompany
    me because this is very serious. I don’t know about that as well.

    [00:05:00]

    FERNANDO GATTORNO: All right. So, here’s what we’re going to do.

    MASPHAL KRY: So in case, he can reach out to my director as well, so please.

    FERNANDO GATTORNO: Okay, stand up. Just leave your door open so he can make the call,
    and then

    DOROTHY MANERA: Yeah.

    FERNANDO GATTORNO: then, I’ll go ahead.

    MASPHAL KRY: [INDISCERNIBLE 00:05:12].

    FERNANDO GATTORNO: Just [INDISCERNIBLE 00:05:20]. Yeah, before I ask you any
    questions, before we start talking about anything, I need to make sure that you understand your
    rights here in the United States before we ask you anything. I’m just, I’m just informing you.

    MASPHAL KRY: No, -- [INDISCERNIBLE 00:05:39].

    FERNANDO GATTORNO: We have an arrest warrant for you.

    MASPHAL KRY: Just. Just --

    FERNANDO GATTORNO: You’re in law enforcement, correct?

    MASPHAL KRY: Yeah. Yeah.

    FERNANDO GATTORNO: Okay.


                                                                                                      4
Case
Case1:22-cr-20340-KMW
     1:22-cr-20340-KMW Document
                       Document105-3
                                60-2 Entered
                                     Enteredon
                                             onFLSD
                                               FLSDDocket
                                                    Docket02/17/2023
                                                          04/26/2023 Page
                                                                     Page66of
                                                                           of87
                                                                              87

         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    MASPHAL KRY: But but my English is regarding to the kind of law in there so
    [INDISCERNIBLE 00:05:50] I’m trying my friend maybe can help me.

    FERNANDO GATTORNO: We’re going to do you one better. We’re going to get an
    interpreter on the line. Somebody that speaks Khmer. Is that, is that your native language, Khmer?

    MASPHAL KRY: Um, can, can I get my friend?

    FERNANDO GATTORNO: Unfortunately, he’s not going to be allowed back here. He’s not,
    he’s not our concern.

    MASPHAL KRY: Question… will I be in jail?

    FERNANDO GATTORNO: What was that?

    MASPHAL KRY: Are we to be in jail for this one?

    FERNANDO GATTORNO: Well, the judge wants to see you. So, the way it works is we have
    to process you so that we can identify who you are and you’re the right person to go before the
    judge. And then the judge will make everything clear to you at that moment in time.

    MASPHAL KRY: So which is the time I need to be here?

    FERNANDO GATTORNO: At the time, you need to, you need to stay here. You will not be
    allowed to move.

    MASPHAL KRY: All right.

    FERNANDO GATTORNO: You’re being detained.

    MASPHAL KRY: [INDISCERNIBLE 00:07:11]. Because for the justice [INDISCERNIBLE
    00:07:20] in charge of the Department of Finance. So I can have authori to to to -- to monkey
    trade.

    FERNANDO GATTORNO: I didn’t quite understand all of that. You just told me you’re a
    government official, correct?

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: Yeah, okay, I understood that part. I just didn’t understand the
    monkey trade part.

    MASPHAL KRY: So, this one is a little bit what?




                                                                                                    5
Case
Case1:22-cr-20340-KMW
     1:22-cr-20340-KMW Document
                       Document105-3
                                60-2 Entered
                                     Enteredon
                                             onFLSD
                                               FLSDDocket
                                                    Docket02/17/2023
                                                          04/26/2023 Page
                                                                     Page77of
                                                                           of87
                                                                              87

         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    FERNANDO GATTORNO: Yeah, so the offenses are conspiracy to traffic wildlife in
    violation of the Lacey Act, and smuggling protected wildlife. Those are the two charges right
    here.

    MASPHAL KRY: From in here?

    FERNANDO GATTORNO: From the United States, yes.

    MASPHAL KRY: From United States?

    FERNANDO GATTORNO: Yes. These are, these are U.S. laws. So,

    MASPHAL KRY: Maybe you can check my bag that I am [INDISCERNIBLE 00:08:09],
    maybe it’s a mistake.

    FERNANDO GATTORNO: All right, well.

    MASPHAL KRY: [INDISCERNIBLE 00:08:13]

    FERNANDO GATTORNO: We’re going to clarify a couple things like I said.

    MASPHAL KRY: All right. All right. May I get some document in my -- because when we
    talking about the wildlife trade, you see I am the one living here [INDISCERNIBLE 00:08:42]
    right?

    FERNANDO GATTORNO: You, you. I’m sorry. I’m listening to too many conversations.
    Before I want to discuss all of this with you.

    MASPHAL KRY: Yeah?

    FERNANDO GATTORNO: But I want you to understand.

    MASPHAL KRY: [INDISCERNIBLE 00:08:55]

    FERNANDO GATTORNO: this first.

    MASPHAL KRY: That that that’s fine. So, listen, so listen, so listen to this. From this
    [INDISCERNIBLE 00:09:01] in Khmer, but for English one I am not related because some
    words it can be correct or there is some spell or or lost word. I’m from a conservationist
    background and from ecology [INDISCERNIBLE 00:09:16] so I know some to the wildlife
    INDISCERNIBLE 00:09:22].

    FERNANDO GATTORNO: So you’re, so you’re, I mean, you’re familiar with wildlife
    because of your background?

    MASPHAL KRY: Yes.


                                                                                                    6
Case
Case1:22-cr-20340-KMW
     1:22-cr-20340-KMW Document
                       Document105-3
                                60-2 Entered
                                     Enteredon
                                             onFLSD
                                               FLSDDocket
                                                    Docket02/17/2023
                                                          04/26/2023 Page
                                                                     Page88of
                                                                           of87
                                                                              87

         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    FERNANDO GATTORNO: That’s what you do? Okay.

    MASPHAL KRY: Yes.

    FERNANDO GATTORNO: Just just to make sure we’ve squared away.


    MASPHAL KRY: [INDISCERNIBLE 00:09:30].

    FERNANDO GATTORNO: Have we spoken with the interpreter?

    DOROTHY MANERA: We’ve got to give it a couple minutes.

    FERNANDO GATTORNO: Okay. That’s fine. It’s going to take a couple minutes. Relax for
    the time being. You said you wanted some water?

    MASPHAL KRY: Yep.

    FERNANDO GATTORNO: Did you bring water, or?

    MASPHAL KRY: Yes. I did not.

    FERNANDO GATTORNO: Okay, perfect. Thank you so much.

    DOROTHY MANERA: Did you travel with a phone?

    MASPHAL KRY: Yeah.

    DOROTHY MANERA: Where where’s your phone? In what bag?

    MASPHAL KRY: Right here.

    DOROTHY MANERA: Okay.

    FERNANDO GATTORNO: Can we see it? Do me a favor, stand up real quick.

    [00:10:00]

    FERNANDO GATTORNO: Put your phone, put your phone here. Stand up real quick. What
    else do you have on your person? I’m gonna, I’m gonna, I’m gonna, I’m gonna to touch you real
    quick. Just to make sure you don’t have anything else.

    MASPHAL KRY: [INDISCERNIBLE 00:10:09].

    FERNANDO GATTORNO: Do you have anything else in your pockets?


                                                                                                7
Case
Case1:22-cr-20340-KMW
     1:22-cr-20340-KMW Document
                       Document105-3
                                60-2 Entered
                                     Enteredon
                                             onFLSD
                                               FLSDDocket
                                                    Docket02/17/2023
                                                          04/26/2023 Page
                                                                     Page99of
                                                                           of87
                                                                              87

        Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    MASPHAL KRY: [INDISCERNIBLE 00:10:12].

    FERNANDO GATTORNO: What do you have in here?

    MASPHAL KRY: [INDISCERNIBLE 00:10:23].

    FERNANDO GATTORNO: Put that on the desk here.

    MASPHAL KRY: [INDISCERNIBLE 00:10:40].

    FERNANDO GATTORNO: Okay. There’s nothing else around? I’m gonna have you
    [INDISCERNIBLE 00:10:40]. All right, you’re good.

    MASPHAL KRY: [INDISCERNIBLE 00:10:50].

    FERNANDO GATTORNO: Okay. Sorry about that sir. Go ahead and sit.

    DOROTHY MANERA: How much cash do you have there? You can leave all that on the table.

    MASPHAL KRY: I don’t know how money.

    FERNANDO GATTORNO: How much is it?

    DOROTHY MANERA: How much is this in your--

    MASPHAL KRY: This -- 50,000.

    FERNANDO GATTORNO: 50,000?

    MASPHAL KRY: Uh, 50,000. These are...

    FERNANDO GATTORNO: Oh, it says on the bottom, so it says that’s 51.

    MASPHAL KRY: No. No. Let me – These are thousands and this are one thousands, so,
    55,000 Riel.

    FERNANDO GATTORNO: Okay. Can I see it?

    MASPHAL KRY: You can count it.

    FERNANDO GATTORNO: Yeah, [INDISCERNIBLE 00:11:32]. It’s got it on top. 50, 51, 6
    so 56 thousand.

    MASPHAL KRY: Yeah.



                                                                                        8
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    1010
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    DOROTHY MANERA: And then over here, what do you have underneath your phone?

    FERNANDO GATTORNO: These are Cambodian [INDISCERNIBLE 00:11:41].

    DOROTHY MANERA: This is just tissue.

    MASPHAL KRY: [INDISCERNIBLE 00:11:42].

    DOROTHY MANERA: Okay, then your phone. Um. What, what is, can you, can you go on
    your phone? Open your phone? Does it have a password?

    MASPHAL KRY: Yeah.

    DOROTHY MANERA: What is your password? For your phone?

    MASPHAL KRY: I’ll show it to you.

    DOROTHY MANERA: Okay.

    FERNANDO GATTORNO: Go, go, back, go back to the front screen real quick.

    MASPHAL KRY: [INDISCERNIBLE 00:12:04].

    FERNANDO GATTORNO: No. Til’ the top. Tilt it, Tilt it real quick. Open it and don’t touch
    it. Just, how do you how do you do the pass-- the, don’t do the password just show me how many
    dots. All right.

    MASPHAL KRY: This way.

    DOROTHY MANERA: Straight down.

    MASPHAL KRY: This way.

    DOROTHY MANERA: Diagonal and then down.

    MASPHAL KRY: This way.

    FERNANDO GATTORNO: Down this way? So, straight down?

    DOROTHY MANERA: Mm hm.

    FERNANDO GATTORNO: This way?

    MASPHAL KRY: Yeah.

    DOROTHY MANERA: Then diagonal across.


                                                                                                 9
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    1111
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    MASPHAL KRY: [INDISCERNIBLE 00:12:21].

    FERNANDO GATTORNO: Diagonal up?

    MASPHAL KRY: Yep.

    DOROTHY MANERA: And then down.

    FERNANDO GATTORNO: And then down.

    MASPHAL KRY: Yeah.

    DOROTHY MANERA: Okay, you can just leave the phone down.

    MASPHAL KRY: Okay.

    DOROTHY MANERA: Do you have your luggage tag sticker?

    MASPHAL KRY: Pardon?

    DOROTHY MANERA: For your luggage? Your bag?

    MASPHAL KRY: With my friend. [INDISCERNIBLE 00:12:36].

    FERNANDO GATTORNO: He’s got your luggage tags?

    MASPHAL KRY: My luggage is with my friend.

    DOROTHY MANERA: And what’s your friend’s name?

    MASPHAL KRY: [INDISCERNIBLE 00:12:44].

    FERNANDO GATTORNO: [INDISCERNIBLE 00:12:48] All right, yeah. We’ve got to get
    through this first before anything else, so we’re good here. What kind of phone is that? Is it a
    Samsung?

    MASPHAL KRY: Yes, Samsung.

    FERNANDO GATTORNO: Do you know is it like a Galaxy? What model is it?

    MASPHAL KRY: I’m not quite sure. It’s a Samsung Galaxy, but I don’t know what number
    [INDISCERNIBLE 00:13:14].

    FERNANDO GATTORNO: Don’t worry about it. Don’t worry about it, we’re good. Just
    [INDICERNIBLE 00:13:17] the phone man. All right, yeah, we’re trying to get an interpreter on


                                                                                                       10
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    1212
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    the line so that you completely understand what’s happening. I want, I wanna be to be crystal
    clear with you what’s happening. Like even though I’ve tried to explain it, we’re gonna have it
    explained in your native language so that you can get a better understanding. Do you speak any
    other languages by any chance?

    MASPHAL KRY: No, just Khmer and English.

    FERNANDO GATTORNO: Okay.

    DOROTHY MANERA: Oh and English?

    MASPHAL KRY: Yes, English but not fully understanding, maybe 50, 50 or 40.

    [BACKGROUND CONVERSATION]

    FERNANDO GATTORNO: Brian?

    MALE: He’s going out for questions.

    FERNANDO GATTORNO: Is there someone else out there? Is Liz out there?

    LIZZ DARLING: Yep, we’re out here.

    FERNANDO GATTORNO: Liz, come in here really quick?

    LIZZ DARLING: Thank you.

    FERNANDO GATTORNO: Just, somebody stand here.

    [00:15:00]

    [BACKGROUND CONVERSATION]

    [BACKGROUND NOISE]

    FERNANDO GATTORNO: He signs here we sign here, and this is the time.

    LIZZ DARLING: Okay.

    FERNANDO GATTORNO: This is location, I said that, date, time.

    LIZZ DARLING: Okay. Location, date, time.

    FERNANDO GATTORNO: Location, date, time. I’m gonna [INDISCERNIBLE 00:16:19].

    LIZZ DARLING: And I’m gonna go [INDISCERNIBLE 00:16:20].


                                                                                                      11
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    1313
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    FERNANDO GATTORNO: Absolutely [INDISCERNIBLE 00:16:24], he has to do with that
    [INDISCERNIBLE 00:16:26]. Problem with the bathroom was there a problem, probably.

    MALE: He said [INDISCERNIBLE 00:16:33]

    PROBABLY MASPHAL KRY: [INDISCERNIBLE 00:16:36]

    MALE: Bathroom?

    [BACKGROUND CONVERSATION]

    [BACKGROUND NOISE]

    MALE: Here you go.

    FERNANDO GATTORNO: Sorry about that. Crazy room. I know it was.

    [BACKGROUND CONVERSATION]

    [BACKGROUND NOISE]

    FERNANDO GATTORNO: I should’ve had this dude make another copy, a smaller copy. I
    don’t wanna give him one [INDISCERNIBLE 00:18:05] .

    MALE: [INDISCERNIBLE 00:18:06].

    FERNANDO GATTORNO: I should ask him. [INDISCERNIBLE 00:18:07].

    [BACKGROUND NOISE]

    [BACKGROUND CONVERSATION]

    FERNANDO GATTORNO: You think it’s a different person, is what you are saying?

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: Well, we are going to try and figure that out.

    MASPHAL KRY: Because you know, I’m from the understand about the monkey in Cambodia
    because am the department director, to match, the farm because whenever we catch send the
    permit.

    FERNANDO GATTORNO: So you are the department director that handles.

    MASPHAL KRY: Yeah.


                                                                                           12
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    1414
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    FERNANDO GATTORNO: What was it, the monkeys? Did you handle the monkeys?

    MASPHAL KRY: Wildlife

    FERNANDO GATTORNO: Okay, the wildlife. Okay, sorry.

    MASPHAL KRY: So whenever they go they [INDISCERNIBLE] to have the CITES permit,
    yeah. So I am not the one who gives the permit my department issues the one to do the trade.

    FERNANDO GATTORNO: Uhum.

    MASPHAL KRY: From the farm they must get to Japan, to Korea, France [INDISCERNIBLE
    00:19:59]

    [00:20:09]

    First, the company has to request to the what’s called the forestry administration. It’s
    [INDISCERNIBLE 00:20:23] through the general department. And then another forestry
    administration is the department of wildlife that I am director. So the document go to my
    department, and then my department [INDISCERNIBLE 00:20:41] start to do what’s called the
    follow-up, the request. But then the company, the farm, request [INDISCERNIBLE 00:20:54]
    agreeable with the amount, the monkey, [INDISCERNIBLE 00:21:00] they requested then they
    report from the minister, as long as the company had to get the CITES permit.

    FERNANDO GATTORNO: Okay.

    MASPHAL KRY: Yeah. So my duty is to get the report from my staff from the ground and
    then talk to my boss.

    FERNANDO GATTORNO: Okay. I want to ask you lots of questions about that.

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: Like I said, we need to get through this part first.

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: And I don’t want to ask you any questions until we’re good with
    this.

    MASPHAL KRY: That that that that’s fine, because –

    FERNANDO GATTORNO: Thank you, I appreciate that. That’s awesome man. Thank you so
    much.



                                                                                                   13
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    1515
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    MASPHAL KRY: [INDISCERNIBLE 00:21:47] you told me that I’m not allowed to fly, right?

    FERNANDO GATTORNO: Um, I don’t think you’re going to be making it on your flight, no.
    I can tell you right now you’re not.

    MASPHAL KRY: Okay.

    FERNANDO GATTORNO: Um, do me a favor? Um, I just need you to verify the information
    on this second page. Is this you?

    MASPHAL KRY: Masphal. The [INDISCERNIBLE 00:22:21], is my name. Ok.
    [INDISCERNIBLE 00:22:25] this is address of office. [INDISCERNIBLE 00:22:50] Ministry of
    Agriculture [INDISCERNIBLE 00:22:54].

    FERNANDO GATTORNO: Is that you?

    MASPHAL KRY: This one is mine.

    FERNANDO GATTORNO: Is the rest of the information, correct? Just for identity purposes.
    If the information. This is your birthday?

    MASPHAL KRY: Yes. Yeah, that’s me.

    FERNANDO GATTORNO: Okay.

    MASPHAL KRY: But the name is not mine, Mark Sophal, is not.

    FERNANDO GATTORNO: Okay. This is correct, this is correct?

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: Okay. No questions about that. We’re good. Just needed to make
    sure. Like I said we’re just, we’re trying to get an interpreter on the phone so that we can
    communicate freely.

    MASPHAL KRY: So they’re not coming here?

    FERNANDO GATTORNO: No, it’s going to be on the phone. Believe it or not, Khmer, it’s
    very difficult to find a speaker in the United States.

    MASPHAL KRY: Yeah, I know that, in this one, there’s a lot in California.

    FERNANDO GATTORNO: And what? I’m sorry?

    MASPHAL KRY: There’s a lot in California.



                                                                                               14
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    1616
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    FERNANDO GATTORNO: Oh, okay. In California there’s a lot?

    MASPHAL KRY: There’s a lot there.

    FERNANDO GATTORNO: Well, unfortunately, this is New York. Sorry.

    MASPHAL KRY: This is my first time being here. Last year I visit Washington.

    FERNANDO GATTORNO: I’m sorry, where?

    MASPHAL KRY: Washington.

    FERNANDO GATTORNO: Okay. In Washington, okay.

    MASPHAL KRY: So if you can have my friend here because his English are so really good, he
    a PhD from the Philippines, so him is [INDISCERNIBLE 00:24:30] he can –

    FERNANDO GATTORNO: The, the, the problem is, why I don’t want him back here, is he
    may miss his flight. I don’t want him to miss his flight, we don’t have any issues with him.

    MASPHAL KRY: His flight, his flight [INDISCERNIBLE 00:24:46] in uh, connect flight in
    one hour, one o’clock.

    FERNANDO GATTORNO: Yeah, so it’s, he wants to bring his friend back here to act as an
    interpreter. I’m kind of, not inclined to do that, just because this isn’t his business.

    [00:25:03]

    MASPHAL KRY: So he’s also a government official
    .
    LIZZ DARLING: Right, no, yeah, we can’t do that.

    FERNANDO GATTORNO: Yeah, I thought so.

    MASPHAL KRY: [INDISCERNIBLE 00:25:10] report to my boss, meeting people in
    Panama[INDISCERNIBLE 00:25:14] I have to report to my family.

    LIZZ DARLING: Yeah, we can’t bring him back here. As an interpreter.

    FERNANDO GATTORNO: Yeah. We want to make sure that the information we’re seeing is
    getting correctly translated to you, and not taken out of context. And it’s exactly what we’re
    saying. That’s why we need somebody that we’re hiring.

    MASPHAL KRY: So, another thing is I want him to help me to translate any
    [INDISCERNIBLE 00:25:45]. If that’s possible also?



                                                                                                   15
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    1717
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    LIZZ DARLING: And you what?

    MASPHAL KRY: Yeah, I don’t know if my friend come with me, help me to translating.

    LIZZ DARLING: Uhum.

    MASPHAL KRY: And because [INDISCERNIBLE 00:25:56] miss his flight, he can help me
    [INDISCERNIBLE 00:26:01], help me to translate. I think that is possible for him.

    LIZZ DARLING: No. We have to get somebody that is court recognized in the United States
    to do the interpretation. We can’t have somebody that is a government official from Cambodia
    doing your translation.

    MASPHAL KRY: Okay.

    FERNANDO GATTORNO: Correct. Thank you, Liz.

    LIZZ DARLING: Uhum.

    MASPHAL KRY: So can I [INDISCERNIBLE 00:26:32]?

    FERNANDO GATTORNO: And, and I don’t know if she’s introduced herself yet. This is Liz
    Darling, she’s a special agent also with the U.S. Fish and Wildlife Services.

    MASPHAL KRY: [INDISCERNIBLE 00:26:37]

    FERNANDO GATTORNO: Just so we all, we know who everybody is.

    LIZZ DARLING: Yeah, he’s already been informed that you’ve been detained.

    MASPHAL KRY: No.

    LIZZ DARLING: Yes. He has been informed.

    MASPHAL KRY: So my luggage [INDISCERNIBLE 00:26:54]?

    LIZZ DARLING: Yes, they are getting it right now.

    FERNANDO GATTORNO: It’s going to take a couple minutes while we line up an interpreter.
    So, for the time being, you know. Sit back.

    LIZZ DARLING: Do you know how much cash?

    FERNANDO GATTORNO: Yeah, I already made a record of it.

    LIZZ DARLING: All the stuff in his wallet?


                                                                                                   16
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    1818
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    FERNANDO GATTORNO: Uh, no, just what he had on his person. So, you’re going to do an
    inventory? You want to take the phone? You want to take the phone and bag it?

    LIZZ DARLING: Yeah, [INDISCERNIBLE 00:27:23].

    FERNANDO GATTORNO: Oh man. All right.

    LIZZ DARLING: [INDISCERNIBLE 00:27:28].

    FERNANDO GATTORNO: We’ve got to do an inventory of everything that’s in here, okay?
    We’re going to pull everything out of here. Is there anything in here that I need to know about
    right now?

    MASPHAL KRY: No.

    FERNANDO GATTORNO: Any illegal stuff? Any drugs?

    MASPHAL KRY: No. No. No. No. No.

    FERNANDO GATTORNO: Anything like that? So, no surprises in here, correct?

    MASPHAL KRY: Just I brought around I think more or less almost 1,000 dollars.

    FERNANDO GATTORNO: A 1,000? Okay.

    MASPHAL KRY: I’m not so sure.

    FERNANDO GATTORNO: Do you have a currency sheet. I need a currency sheet. Ask CBP
    for a currency sheet. We’re going to take everything out of here in front of you. We’re going to
    count all of your money. We’re going to inventory everything that’s in here. Okay?

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: So, we’re just waiting for some documents and the probably
    [INDISCERNIBLE 00:28:17] bag. [INDISCERNIBLE 00:28:23].

    [BACKGROUND NOISE]

    [00:30:00]

    FERNANDO GATTORNO: I’m going to put this here. I’m going to put this right here. Just
    leave it here because I need an inventory of everything, okay?

    [BACKGROUND CONVERSATION]



                                                                                                   17
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    1919
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1


    [BACKGROUND NOISE]

    FERNANDO GATTORNO: About 4,000 dollars of cash.

    MALE: U.S.?

    FERNANDO GATTORNO: Yes. It’s U.S.?

    MASPHAL KRY: Yes, sir.

    FERNANDO GATTORNO: Okay.

    MASPHAL KRY: I never found my [INDISCERNIBLE 00:30:34] in Panama
    [INDISCERNIBLE 00:30:36].

    FERNANDO GATTORNO: Yes.

    MASPHAL KRY: Yes.

    FERNANDO GATTORNO: U.S. dollars you use in a lot of places.

    MASPHAL KRY: [INDISCERNIBLE 00:30:47] 70,000 dollars Cambodian
    [INDISCERNIBLE 00:30:51]. So this one is going go to going to the judge?

    FERNANDO GATTORNO: Correct.

    MASPHAL KRY: So, I don’t know how long I be in here?

    FERNANDO GATTORNO: Um. How long you’re going to be here in this room?

    MASPHAL KRY: In the United States.

    FERNANDO GATTORNO: I don’t know. I don’t know. I know the judge definitely wants to
    see you, we’re trying to hopefully make it today. Maybe tomorrow.

    MASPHAL KRY: All right.

    FERNANDO GATTORNO: All right? Just so you’re aware. We’re going to try to do what we
    need to do as quickly as possible, but obviously we’re having some issues at the moment with
    the translation. Once we get the translator on we’ll pick up exactly where we left off.

    MASPHAL KRY: All right.

    FERNANDO GATTORNO: I just don’t want you -- I don’t want you to misunderstand
    anything we are saying. I want it to be very clear.



                                                                                              18
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    2020
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    [BACKGROUND NOISE]

    FERNANDO GATTORNO: We’ll schedule him. All, so this is just for currency which is great,
    but we also need one for property. We also need a property one.

    DOROTHY MANERA: Oh.

    FERNANDO GATTORNO: I don’t know if CBP wants to handle it or you do it, we also need
    another form. I can print one of those out. Unless you’ve got a property form on you. Halfway
    there.

    DOROTHY MANERA: Okay, so we’re in a holding pattern.

    FERNANDO GATTORNO: All right. Not a problem.

    DOROTHY MANERA: About 25 minutes.

    FERNANDO GATTORNO: We need to inventory his stuff anyway.

    DOROTHY MANERA: Okay. Let’s do that.

    FERNANDO GATTORNO: So, we’re waiting to get the property sheet, then we can go ahead
    and start itemizing.

    DOROTHY MANERA: [INDISCERNIBLE 00:33:15] is that what we’re waiting for, a form?

    FERNANDO GATTORNO: Yes, because I need that inventory report. So, we’re just going to
    go over just inventory. And whatever we need to put into a property bag. [INDISCERNIBLE
    00:33:30] bag.

    DOROTHY MANERA: [INDISCERNIBLE 00:33:32].

    FERNANDO GATTORNO: Perfect. That’ll help. Then we’ll just get a property sheet,
    property receipt while we’re at it.

    DOROTHY MANERA: Yep [INDISCERNIBLE 00:33:38] can you just tell them there’s a
    blue nylon bag in there? [INDISCERNIBLE 00:33:46] bag.

    FERNANDO GATTORNO: It’s a bag with a box. So, I told him we’re not going to ask him
    any questions or anything until we get this cleared. Once we’re clear and then we’re good.

    DOROTHY MANERA: Uhum.

    FERNANDO GATTORNO: He verified the information on the sheet. That’s his name, and
    that’s his birthday.



                                                                                                 19
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    2121
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    DOROTHY MANERA: Okay, perfect.

    FERNANDO GATTORNO: So we’re good on that. So, we’ll pick up in a couple minutes. Just
    do what we got to do here. [INDISCERNIBLE 00:34:41] at all?

    DOROTHY MANERA: [INDISCERNIBLE 00:34:44] I think Liz did, [INDISCERNIBLE
    00:34:45].

    FERNANDO GATTORNO: He’s been made aware so we’re good.

    [00:35:00]

    MASPHAL KRY: So I no understand from this case [INDISCERNIBLE 00:35:07] the monkey
    trade.

    FERNANDO GATTORNO: I’m sorry?

    MASPHAL KRY: For this case, [INDISCERNIBLE 00:35:11] monkey trade
    [INDISCERNIBLE 00:35:13].

    FERNANDO GATTORNO: This case is involving monkey trade, but I haven’t mentioned that.
    I haven’t.

    MASPHAL KRY: [INDISCERNIBLE 00:35:18].

    FERNANDO GATTORNO: I haven’t I haven’t mentioned monkeys at all.

    MASPHAL KRY: But they are involved?

    FERNANDO GATTORNO: It involves the monkey trade is what you’re asking me?

    MASPHAL KRY: No. The, what what what is the request?

    FERNANDO GATTORNO: It is conspiracy to traffic wildlife and smuggling protected
    wildlife. Those are the two charges.

    MASPHAL KRY: What is, what is, what is conspiracy?

    FERNANDO GATTORNO: What is conspiracy?

    MASPHAL KRY: Uhum.

    FERNANDO GATTORNO: So, when two people act together to do something. Two or more
    people.

    MASPHAL KRY: From Cambodia to the United States?


                                                                                       20
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    2222
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    FERNANDO GATTORNO: Yes.

    MASPHAL KRY: Two or more people?

    FERNANDO GATTORNO: Two or more people.

    MASPHAL KRY: Like a group?

    FERNANDO GATTORNO: Like a group.

    MASPHAL KRY: To do illegal trade?

    FERNANDO GATTORNO: To do anything illegal. Anything.

    MASPHAL KRY: All right.

    FERNANDO GATTORNO: In this particular case, it’s wildlife.

    MASPHAL KRY: It’s probably some [INDISCERNIBLE 00:36:18] in smuggling, but I don’t
    know how how can we, we can, ca-- ca-- [INDISCERNIBLE 00:36:28].

    FERNANDO GATTORNO: I don’t want to discuss any of that. But you verified that this your
    name, and this is your date of birth.

    MASPHAL KRY: Yes, yes, sure. Because in America we have so much [INDISCERNIBLE
    00:36:37] no problem.

    FERNANDO GATTORNO: Okay.

    MASPHAL KRY: That’s why I try to understand the place and because [INDISCERNIBLE
    00:36:48] and if I lie you can change my passport if, if, [INDISCERNIBLE 00:36:52].

    FERNANDO GATTORNO: And we’re going to get there. Don’t worry about it.

    MASPHAL KRY: All right, all right. My -- I can use the email or something here for call a—

    FERNANDO GATTORNO: [INDISCERNIBLE 00:37:01]

    MASPHAL KRY: [INDISCERNIBLE 00:37:02] to to send her [INDISCERNIBLE 00:37:08].

    FERNANDO GATTORNO: We’re going to figure it out.

    MASPHAL KRY: Yeah. Yeah.




                                                                                             21
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    2323
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    FERNANDO GATTORNO: I mean, we’re going to figure it out together hopefully. But for
    now, we’re just going to, we’re just going to wait a minute.

    MASPHAL KRY: Yeah, sure, sure, sure.

    FERNANDO GATTORNO: And then, we’ll get into it, all right?

    MASPHAL KRY: All right. Right.

    FERNANDO GATTORNO: I mean, if you’ve got questions for me, you know, you can ask
    me anything you want. Like it’s OK. If it’s something that I want to ask you, we need to wait.

    MASPHAL KRY: I trying to to to understand the problem first, but how I can respond you
    translate.

    FERNANDO GATTORNO: Right, and that’s why we want to get a translator and interpreter.

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: So that can explain what we’re asking correctly.

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: So, that there’s no, no mistakes, no misunderstandings.

    MASPHAL KRY: Yes.

    FERNANDO GATTORNO: Exactly what we need.

    MASPHAL KRY: I told you [INDISCERNIBLE 00:37:58] I am the managing the wildlife in
    Cambodia. So I don’t have the friend to be visiting the United States. You can check my
    background.

    FERNANDO GATTORNO: Uhum.

    MASPHAL KRY: [INDISCERNIBLE 00:38:12].

    FERNANDO GATTORNO: So, you’re telling me you don’t do business in the United States
    is what you’re telling me?

    MASPHAL KRY: Yeah, yeah. [INDISCERNIBLE 00:38:17] I don’t do the business
    [INDISCERNIBLE 00:38:22] just one or two times per year just sometimes for
    [INDISCERNIBLE 00:38:27] for the trainings here.

    FERNANDO GATTORNO: So, you come every once in a while, for training here is what
    you’re telling me?


                                                                                                     22
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    2424
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    MASPHAL KRY: Yeah. Last time I came for the ICCA?

    FERNANDO GATTORNO: ICCA, correct.

    MASPHAL KRY: Yeah. [INDISCERNIBLE 00:38:41]

    FERNANDO GATTORNO: Okay.

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: Okay.

    MASPHAL KRY: And in Cambodia we also try to stop the the the smuggling as well. We also
    cooperate with one of the NGOs, Wildlife Alliance.

    FERNANDO GATTORNO: Wildlife Alliance?

    MASPHAL KRY: Wildlife Alliance.

    FERNANDO GATTORNO: So, you work with Wildlife Alliance?

    MASPHAL KRY: Yeah. [INDISCERNIBLE 00:39:06]

    FERNANDO GATTORNO: Just so I’m understanding what you’re saying.

    MASPHAL KRY: Yeah, my staff also [INDISCERNIBLE 00:39:11] what’s called? A co, co,
    co-partner. Or we call it, sometimes we call it [INDISCERNIBLE 00:39:17] to do the a- a-
    breakdown.

    FERNANDO GATTORNO: All right. Just so I’m understanding so you’re telling me one of of
    your staff works with Wildlife Alliance as a cooperator? As a co-partner?

    MASPHAL KRY: Yeah. A copartner, but they need, they they have the permission from the
    government.

    FERNANDO GATTORNO: Uhum. Okay.

    MASPHAL KRY: Because Wildlife Alliance is just an NGO, then they need the government
    official to lead...

    FERNANDO GATTORNO: Ah, okay. So,

    MASPHAL KRY: [INDISCERNIBLE 00:39:49] government official also need to have the
    permission.



                                                                                            23
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    2525
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    FERNANDO GATTORNO: Okay.

    MASPHAL KRY: From the government.

    FERNANDO GATTORNO: Okay.



    MASPHAL KRY: Yeah. Also, and then my department as well. That’s why I do cooperate with
    them. Yeah.

    [00:40:05]

    FERNANDO GATTORNO: Okay. So,

    MASPHAL KRY: So even in Cambodia, we try to stop. Because as I told you, I’m from the
    wildlife background and do wildlife conservation with the NGO for almost 20 years.

    FERNANDO GATTORNO: Wow, okay.

    MASPHAL KRY: Yeah, so I know that --

    FERNANDO GATTORNO: So, you’ve been doing wildlife conservation, just so I’m
    understanding, for over 20 years?

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: Okay.

    MASPHAL KRY: Yeah so, I start working with the government in 1998.

    FERNANDO GATTORNO: Okay.

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: All right, yep. I mean like I said --

    MASPHAL KRY: It, it, it, it. When when tell me was strange to me that working with the with
    the the the wildlife trade, you know, a-- even in Cambodia, we also try to stop like, I know they
    treat wildlife conservation like a like a [INDISCERNIBLE 00:41:00] rhino horn, elephant
    [INDISCERNIBLE 00:40:59]. So, we try to stop it. I don’t you have any [INDISCERNIBLE
    00:41:08] here? In the United States. But I’m [INDISCERNIBLE 00:41:10] the name is mine but,
    you know you can change anything [INDISCERNIBLE 00:41:16], because sometimes some
    trader they they lie on the document of my land.

    FERNANDO GATTORNO: Okay. That’s…


                                                                                                  24
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    2626
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    MASPHAL KRY: Something like that.

    FERNANDO GATTORNO: That’s one of the things we need to clarify is you, your identity.
    And…

    MASPHAL KRY: Yeah. You can check my passport [INDISCERNIBLE 00:41:31].

    FERNANDO GATTORNO: Your name is correct. And your date of birth is correct.

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: And the employment is correct.

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: Okay. So, those pieces of information are correct on that form.

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: Just wanted to make sure. Okay that’s it.

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: All right. And then you’re saying your passport’s in here, and
    we’ll get to it. We’re waiting for a sheet so then we can go ahead and inventory all this stuff.

    MASPHAL KRY: Oh, my passport is [INDISCERNIBLE 00:41:52].

    FERNANDO GATTORNO: Oh, okay. Not a problem. So, we have that.

    MASPHAL KRY: Because I’m …

    FERNANDO GATTORNO: We’ll need a copy of that.

    LIZZ DARLING: Yeah.

    MASPHAL KRY: I’m [INDISCERNIBLE 00:42:00] the United States here.

    FERNANDO GATTORNO: Perfect.

    MASPHAL KRY: So, how can I do business with them?

    [BACKGROUND CONVERSATION]

    DOROTHY MANERA: The interpreter services again we’re paying for it.


                                                                                                       25
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    2727
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    FERNANDO GATTORNO: That’s fine.

    DOROTHY MANERA: He’ll still be a few minutes.

    FERNANDO GATTORNO: That’s fine. It’s the same one we used last time? Or is it theirs?
    Theirs or ours?

    LIZZ DARLING: No, it’s a different one. It’s just a, what’s the word I’m looking for. It’s just
    a paid service, it’s certified.

    FERNANDO GATTORNO: Okay. But they do have one.

    DOROTHY MANERA: Yes.

    FERNANDO GATTORNO: All right. I guess they are going to need to front load all their IDs
    and stuff. Email. Who it is that we’re talking to on it.

    DOROTHY MANERA: Yeah.

    FERNANDO GATTORNO: Just so we’re good on that.

    MASPHAL KRY: Is that wildlife trade is very serious and because there’s [INDISCERNIBLE
    00:43:14] a lot a people trying to [INDISCERNIBLE 00:43:17] in Cambodia, we trying to stop it
    [INDISCERNIBLE 00:43:20] that’s why I’m 100% sure that somebody used my name to do that
    100% sure that.

    FERNANDO GATTORNO: Okay. Like I said we want to ask you some questions to clarify
    some stuff.

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: But I definitely, before I ask you anything, I definitely want to go
    make sure you understand your rights here in the United States. I don’t want to ask you a single
    thing until we get this clarified. Once we get this clarified, we can we can start our conversation
    if you like. And then again, you can ask me any questions you want. I’m just not going to ask
    you any.

    MASPHAL KRY: The question, [INDISCERNIBLE 00:44:03] I’m sure I’m sure because I’m
    sure that someone use my name, my address, or my position to do the trade even
    [INDISCERNIBLE 00:44:15] as I told you before is like how can we [INDISCERNIBLE
    00:44:20]. So how long it takes this question?

    FERNANDO GATTORNO: That’s like I said, we need to get through one part before we get
    to the other part.



                                                                                                     26
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    2828
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: So, the language situation, we definitely need to get that sorted
    out so we both understand what’s happening, and what you’re saying, what I’m saying. You’re
    understanding me, I’m understanding you.

    MASPHAL KRY: All right.

    FERNANDO GATTORNO: That’s what we want to accomplish first. What we’re trying to do
    now is just taking a minute because, like I said, here there’s not a lot of Khmer speakers. So, it
    takes a minute to find one. But once we find one, and we were told it’s going to be a couple
    minutes. So, at what time you said your connecting flight is?

    [00:45:07]

    MASPHAL KRY: [INDISCERNIBLE 00:45:11].

    FERNANDO GATTORNO: Let’s see that. So. They probably have your ticket. Don’t worry
    about it. I’m going to flip this back this way, okay?

    MASPHAL KRY: It’s 13.

    FERNANDO GATTORNO: Okay.

    MASPHAL KRY: One o’clock.

    FERNANDO GATTORNO: Okay. So, your friend is on that flight, correct?

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: Okay. That’s all I need to know. Just to make sure.

    MASPHAL KRY: So, am I going to stay in this room all night [INDISCERNIBLE 00:45:49]?

    FERNANDO GATTORNO: No. You’re not staying in this room.

    MASPHAL KRY: [INDISCERNIBLE 00:45:56] or in this office or?

    FERNANDO GATTORNO: We need to process you. So, depending on how quickly we
    process you is where you’ll be staying. So, if you’re staying. You know what I’m saying?
    Depends. The judge. At the end of the day the judge is the one that makes the call. I mean I’m
    going to tell you right now it’s taking a little bit of a turn, so, it may be overnight.

    MASPHAL KRY: I need to phone to one of my friends because [INDISCERNIBLE 00:46:28]
    Panama [INDISCERNIBLE 00:46:31] to my friend who’s here.



                                                                                                     27
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    2929
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    FERNANDO GATTORNO: Okay.

    MASPHAL KRY: Because he doesn’t know really how long I be here. If --

    FERNANDO GATTORNO: I don’t know how long it’s going to be.

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: I’m going to tell you straight up. I don’t know how long it’s
    going to be.

    MASPHAL KRY: I know that because, I was [INDISCERNIBLE 00:46:57] I try to understand
    my [00:47:02] from there to, to, [00:47:08] myself and [00:47:10] I don’t know how long it
    takes..

    FERNANDO GATTORNO: Uhum.

    MASPHAL KRY: [INDISCERNIBLE 00:47:14]

    FERNANDO GATTORNO: That’s okay. Like I said, it’s going to be one step at a time until
    we get through this. We can’t go any faster than we can move. If this where we have to stop for
    right now, this is where we stop. But we want to get the interpreter, so that we can continue. We
    good?

    LIZZ DARLING: Shortly. They’re going to be calling.

    FERNANDO GATTORNO: We can handle inventory all weekend. Give it to them and they
    can handle inventory out there.

    MASPHAL KRY: Another place if I need to talk to the [INDISCERNIBLE 00:48:10] from
    Cambodia, so how can we arrange it?

    FERNANDO GATTORNO: We can arrange it. So, what happens is you have the ability to
    notify your counsel, your embassy, and the United States of your predicament.

    MASPHAL KRY: Okay.

    FERNANDO GATTORNO: And they can do whatever they need to do for you. That’s your
    right as their citizen and you’re working here. So, if you want to, we can do that. We can notify
    them, but it’s your choice. But it’s your choice. Once you understand what’s happening, we need
    to make a decision. I can’t make that decision for you. Cambodia doesn’t require us to do it

    MASPHAL KRY: So, I understand that so that I stay here after questioning and to stay here
    one or two days and then potentially talk to my ambassador?




                                                                                                    28
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    3030
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    FERNANDO GATTORNO: Just so we’re clear I don’t know how long this is going to take.
    So, one or two days. It could be longer. It could be shorter. I don’t know how long this could
    take. That’s just honest. So, what I’m telling you now is on your notifications part of the house is
    Cambodia does not require us to notify them of the arrest one of their citizens. If you want to, we
    can notify them. But it’s your choice. Not my choice.

    MASPHAL KRY: But you tell me, I don’t understand.

    FERNANDO GATTORNO: I, I, I, that’s why I want you to understand this clearly. Before
    anything, before we move forward. I want you to completely understand what’s happening. You
    understand?

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: I, I, I, want to be clear, so I’m not telling you anything that’s
    incorrect. I want to be as clear as I can be.

    MASPHAL KRY: So, I know that it’s likely not the correct one, you need to inform the
    ambassador because they had -- that they got RBS from them?

    [00:50:10]

    FERNANDO GATTORNO: It’s going to be. It’ll be, it will be an ambassador I believe. It will
    be the ambassador either here in New York, the Attaché, that’s working in New York. Or it’ll be
    in Washington. I’m not sure which one’s going to get notified if that’s what you want to do. If
    that’s what you want to do, that’s what we can do. We can just let them know ‘hey Mr. Masphal
    Kry’ -- how do you say your last name by the way?

    MASPHAL KRY: Masphal.

    FERNANDO GATTORNO: Last Name. Family Name.

    MASPHAL KRY: Kry.

    FERNANDO GATTORNO: Kry?

    MASPHAL KRY: Kry. Kry.

    FERNANDO GATTORNO: Kry.

    MASPHAL KRY: Just like the French.

    FERNANDO GATTORNO: Okay. So, it’s Kry.

    MASPHAL KRY: Kry.



                                                                                                      29
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    3131
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    FERNANDO GATTORNO: Just so I’m saying it correctly, Mr. Kry. We need to, just need to
    make sure that A. know that you’re being detained by the United States, okay?

    MASPHAL KRY: Mm-hmm.

    FERNANDO GATTORNO: So, want to make that abundantly clear if that’s what you want.
    But, I want to explain this to you first, if I can, and then we’ll go from here.

    MASPHAL KRY: All right, all right. So, first of all, [INDISCERNIBLE 00:51:11] ambassador
    come to meet me as well or is impossible?

    FERNANDO GATTORNO: Oh no, no, it’s not impossible. They can come.

    MASPHAL KRY: Please get them.

    FERNANDO GATTORNO: Okay. So, that’s what you would prefer?

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: Okay. I’ll let them know in a minute. As soon as somebody
    comes in, I’ll let them know that you want your consulate notified. Okay?

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: Okay.

    MASPHAL KRY: Because from here I also have the what’s that called, the note from the
    Ministry of Foreign Affairs. So because I’m the government official so I need to call the
    ambassador, or the staff of the ambassador to Cambodia. So sometimes they [INDISCERNIBLE
    00:52:05] the translators.

    FERNANDO GATTORNO: Well, I mean because you are a government official, you’re
    entitled to that, but also because you’re a citizen of Cambodia and not a citizen of the United
    States you’re afforded that. What I’m trying to explain to you is that Cambodian government
    doesn’t require us, it’s telling us you don’t have to tell us. It’s only if you want to. So, if you
    want it. Which I have noted down here that this is what you want to do. We’ll go ahead and
    notify your consulate of your situation, okay?

    MASPHAL KRY: So, it means [INDISCERNIBLE 00:52:43].

    FERNANDO GATTORNO: I’m sorry?

    MASPHAL KRY: Can we invite the ambassador or the staff ambassador in here right now.

    FERNANDO GATTORNO: They’re going to have their opportunity, yes. It may not be right
    here right now. It might be someplace else. But they have that right if that’s what you want.


                                                                                                    30
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    3232
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    MASPHAL KRY: All right.

    FERNANDO GATTORNO: Okay. That, that’s just part of your rights. And that’s kind of why
    I want to go through some of this stuff, but you’ll know -- and hey, guys. He wants his consulate
    notified.

    DOROTHY MANERA: Okay.

    FERNANDO GATTORNO: So, I’ve got a time of 11:10 am.

    DOROTHY MANERA: Okay.

    FERNANDO GATTORNO: For that request. All right. I’ll do the forms. That’s original. The
    coffee stains too.

    DOROTHY MANERA: You are bad, but I do.

    FERNANDO GATTORNO: Well, okay. Do you want to start right now?

    DOROTHY MANERA: Mm-hmm.

    FERNANDO GATTORNO: I’ll just hand it over to you. There you go. It’s not in airplane
    mode.

    DOROTHY MANERA: Yeah.

    FERNANDO GATTORNO: You want to put him in there for a minute. Let me do something
    for you? Don’t know? Did that work? Right there? Across that. Yeah? Okay, verify.

    [BACKGROUND COVERSATION]

    Were you able to put it in the -- okay.

    [BACKGROUND NOISE]

    And you pronounce his last name Kry? Mr. Kry?

    [00:55:03]

    MASPHAL KRY: First name or family name?

    FERNANDO GATTORNO: Family name. Family name.

    MASPHAL KRY: CR-EE.



                                                                                                  31
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    3333
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    DOROTHY MANERA: CR-EE.

    FERNANDO GATTORNO: CR-EE.

    MASPHAL KRY: Inspired by French.

    DOROTHY MANERA: French?

    MASPHAL KRY: Mm-hmm.

    DOROTHY MANERA: Oh.

    MASPHAL KRY: It was another French colony.               But I don’t really speak French.
    [INDISCERNIBLE 00:55:17] French.

    DOROTHY MANERA: Okay.

    MASPHAL KRY: So when you spell in English, it’s Kry.

    DOROTHY MANERA: Uhum.

    FERNANDO GATTORNO: It’s Kry.

    MASPHAL KRY: It’s Kry.

    FERNANDO GATTORNO: Where’s the rest of the stuff? Is it out there?

    DOROTHY MANERA: Mm-hmm. Do you want me to grab it?

    FERNANDO GATTORNO: Okay. No, no. It doesn’t have to right now.

    DOROTHY MANERA: Okay, we’ll wait.

    [VOICE OVERLAP]

    MASPHAL KRY: So, you’re going to inform my embassy?

    FERNANDO GATTORNO: Um. That’s what one of the individuals is going to do right now.

    MASPHAL KRY: All right. Because sometime the [INDISCERNIBLE 00:56:09]. I need to
    head embassy -- get a translator because then you ask me something, sometimes do not have the
    answer as planned.

    DOROTHY MANERA: Mm-hmm.

    MASPHAL KRY: As planned.

                                                                                              32
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    3434
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    FERNANDO GATTORNO: Right. But just so you understand where we are, okay? We don’t
    want an individual to change what we’re saying to you. You understand? That’s why we have to
    go with an outside person that doesn’t represent you and does not represent us. To translate
    exactly what we’re saying to you, or what you’re saying to us. If somebody else, for example,
    the person that’s traveling with you, they may not translate exactly what I’m saying. I don’t
    know what they’re translating. I don’t understand? So, I need to know that they are translating
    exactly what I’m saying to you. So, that you understand.

    MASPHAL KRY: How about the ambassador?

    FERNANDO GATTORNO: Again, I don’t know what they’re translating. If your ambassador
    is here anyway or the person that they assign as your translator, we would have our own
    translator anyway to make sure that what I’m saying to you is correct.

    MASPHAL KRY: Okay. Thanks for making understand but you know when you ask me in
    English, the translator will translate in Khmer, and then I respond in Khmer.

    FERNANDO GATTORNO: Mm-hmm. And they will translate in English

    MASPHAL KRY: He will translate 100% correct, as well. Because he not a true Cambodian he
    may think, [INDISCERNIBLE 00:57:49].

    FERNANDO GATTORNO: I’ll go ahead and tell you this one. The translator that we use is a
    certified for like the United Nations and stuff like that. They’re certified. So, they are Cambodian
    Khmer speaker. So, they are fluent. That’s what we’re bringing.

    MASPHAL KRY:        I’m only understanding because when I was first in ICCA
    [INDISCERNIBLE 00:58:19], there was a Khmer translator, but sometimes we need -- because,
    some [INDISCERNIBLE 00:58:30] some name of animals he did not know.

    FERNANDO GATTORNO: Okay.

    MASPHAL KRY: Sometimes I teach her [INDISCERNIBLE 00:58:38]. That’s why we need
    to be [INDISCERNIBLE 00:58:43], 100% so the translator. You are 100% correct of what I say.

    FERNANDO GATTORNO: That’s the goal.

    MASPHAL KRY: Yeah, yeah, yeah.

    FERNANDO GATTORNO: That is the goal. The goal is that so what you’re saying is
    understood by us. And what we’re saying is understood by you. Do you understand?

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: So, there’s no misunderstandings.


                                                                                                     33
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    3535
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    MASPHAL KRY: That’s why I want to have the ambassador is here so we can compare.

    FERNANDO GATTORNO: And that, and and if that’s what you choose and if that’s what
    they provide, that’s the service they provide to you, then that’ll happen. It just will not happen
    right now. Nobody is allowed back here. It’s just us. We’re just going to be discussing from here.
    We’re going to process you, so that you can go before the judge. And handle, if you don’t think
    this is you, that’s when that’s going to be handled. Do you understand?

    MASPHAL KRY: So, it’s me that here all time you -- questioning me? Then uh --

    FERNANDO GATTORNO: No. Stop. Stop right there. I would like to question you. I would
    like to ask you questions.

    MASPHAL KRY: All right, all right.

    FERNANDO GATTORNO: Until you understand your rights here in the United States, I will
    not ask a question associated with anything that we’re looking at.

    [01:00:01]

    Do you understand? I haven’t asked you one question yet about anything that I’m
    [INDISCERNIBLE 01:00:09].

    MASPHAL KRY: But…

    FERNANDO GATTORNO: I want that to be clear.

    MASPHAL KRY: [INDISCERNIBLE 01:00:10] if I’m going to discussion [INDISCERNIBLE
    01:00:17].

    FERNANDO GATTORNO: I would love to discuss it with you.

    MASPHAL KRY: [INDISCERNIBLE 01:00:19] I am going to sleep here, but…

    FERNANDO GATTORNO: You can ask me questions.

    MASPHAL KRY: [INDISCERNIBLE 01:00:25] Okay. Now that maybe if there’s a translator
    you can maybe want to know something about me, and then after that can we have another
    meeting with the ambassador?

    FERNANDO GATTORNO: We can if it comes to that, yes.

    MASPHAL KRY: So, Has the government been informed yet?




                                                                                                   34
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    3636
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    FERNANDO GATTORNO: Yes. They’re being notified. So, that’s happening. I have it
    written down. So, that request is being handled. So, yes, they are being notified as per your
    request.

    MASPHAL KRY: Alright, then they will come to discuss with me.

    FERNANDO GATTORNO: They can, but not right now. Like this is just us. From here,
    again, I want to talk to you. I want to ask you questions that I have. But I cannot do that until you
    fully understand your rights. Do you understand that part? Like until you understand what your
    rights are here in the United States, I cannot ask you any questions. And I haven’t. I have not
    asked you a single question. Do you want to ask me any questions? You can ask me questions.
    And I can respond with you it’s not a problem. But I can’t ask you any questions.

    MASPHAL KRY: But I just want to know that [INDISCERNIBLE 01:01:45] – now I start
    feeling stressful. So after we do that, then you will report to the judge? After we go back here, is
    it possible to have another [INDISCERNIBLE 01:02:11] with the ambassador?

    FERNANDO GATTORNO: If, if, if, you want to continue talking.


    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: That is 100% yes it can happen. We can have more conversation.
    We can have as many conversations as you want to have as long as you understand your rights
    here in the United States.

    MASPHAL KRY: [UNDISCERNABLE 01:02:30]

    FERNANDO GATTORNO: That’s to me, that’s the number one thing that’s going to happen
    today is that you’re going to understand your rights here in the United States. Because we’re not
    in Cambodia.

    MASPHAL KRY: [INDISCERNIBLE 01:02:35] -- here in the United States.

    FERNANDO GATTORNO: This is the U.S. You’re in the United States.

    MASPHAL KRY: All right, all right.

    FERNANDO GATTORNO: So, I just want you to know your rights here in the United States
    may be the same or may be different then they are in Cambodia.

    MASPHAL KRY: All right.

    FERNANDO GATTORNO: So, I just want to be clear that you understand them. Like that’s
    it. Once we get through that, we can do a lot of things. We can continue to talk. We can stop
    talking. You can do, you know, with your ambassador and whatever, they want to appoint


                                                                                                      35
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    3737
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    somebody to you, and you want to engage a conversation with us. We can do that. I don’t want
    to go beyond that.

    MASPHAL KRY: [INDISCERNIBLE 01:03:11] maybe we can make the ambassador because
    like the ambassador. Do you know what time is?

    FERNANDO GATTORNO: It is 11:22.

    MASPHAL KRY: In the afternoon?

    FERNANDO GATTORNO: In the afternoon.

    MASPHAL KRY: So [INDISCERNIBLE 01:03:21] -- I want to see my ambassador.

    FERNANDO GATTORNO: Okay. Your ambassador’s one thing. I want to get through your
    lawyer first.

    MASPHAL KRY: I don’t have a lawyer here.

    FERNANDO GATTORNO: Right. That’s what I need you to understand. You can get one if
    you want to. That’s your right. Like I said, I want to discuss this with you, I want to ask
    questions…

    [BACKGROUND NOISE]

    [BACKGROUND CONVERSATION]

    DOROTHY MANERA: Standby one second.

    MASPHAL KRY: Yeah. Yeah.

    FERNANDO GATTORNO: So, this is the translator?

    DOROTHY MANERA: Yes. I just want to copy his ID. Okay. Go ahead with the ID number.

    INTERPRETER: 6016.

    DOROTHY MANERA: 6016? Okay. Your ID number is 6016. Is that correct?

    INTERPRETER: Yes.

    DOROTHY MANERA: Okay. Hello, my name is DOROTHY MANERA. I’m a Special Agent
    with the United States Fish and Wildlife, and I’m here with my colleague Special Agent
    Fernando Gattorno, and we are meeting with an individual by the name of Masphal Kry. And he
    does speak some English, but he’s from Cambodia, so if you could just -- I’ll let you do the
    introductions.


                                                                                              36
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    3838
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    INTERPRETER: Okay. [FOREIGN LANGUAGE: Hello. My name is Pheap, and I am going
    to do the Khmer interpretation.].

    MASPHAL KRY: [FOREIGN LANGUAGE: Yes. What is your name?].

    INTERPRETER: [FOREIGN LANGUAGE: My name is Pheap.].

    MASPHAL KRY: [FOREIGN LANGUAGE: Pheap? What is your full name?].

    INTERPRETER: [FOREIGN LANGUAGE: It is Chhom Pheap.].

    MASPHAL KRY: [FOREIGN LANGUAGE: Chhom Pheap?].

    INTERPRETER: [FOREIGN LANGUAGE: Yes.].

    MASPHAL KRY: [FOREIGN LANGUAGE: My name is Phal, Kry Masphal.].

    [01:05:06]

    INTERPRETER: Okay. Phal. I said my name is Phal.

    DOROTHY MANERA: Okay. And the spelling is P-H-A-L?

    INTERPRETER: Yes, yes, yes.

    FERNANDO GATTORNO: This is Special Agent Fernando Gattorno with U.S. Fish and
    Wildlife Services. In front of Mr. Kry is a Miranda form it explains his Miranda rights. It has a
    waiver of the rights at the bottom, with signatures for witnesses. A signature for himself. I’m
    going to go ahead and read his Miranda rights. As is written -- sorry.

    INTERPRETER: Okay. [FOREIGN LANGUAGE: In front of you, it is the rights that you
    have. He will read it for you to know and understand. You will know what you have right to do
    and what you do not.].

    MASPHAL KRY: [FOREIGN LANGUAGE: I can share some information with him. I will not
    answer for the points I am not clear of, and since I am a civil servant, I will need to discuss with
    the embassy.].

    INTERPRETER: So, I will share certain information with you that I can and certain
    information that I cannot. Because I am a public worker of the official in the country.

    FERNANDO GATTORNO: Correct. Okay. So, I’m going to begin by starting to read the
    waiver, and I’m going to pause after each line so you can translate. So, you can get either an
    affirmative or a negative response from Mr. Kry.



                                                                                                     37
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    3939
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    INTERPRETER: [FOREIGN LANGUAGE: I am going to begin by reading the waiver, and
    you can take either an affirmative or a negative response.].

    MASPHAL KRY: [FOREIGN LANGUAGE Yes.].

    INTERPRETER: Yes. Yes.

    FERNANDO GATTORNO: Okay. This is advisement and waiver of your Miranda rights.

    INTERPRETER:       [FOREIGN LANGUAGE: This is the advisement and waiver of your
    rights.].

    FERNANDO GATTORNO: Before I ask you any questions, I want to explain your rights to
    you.

    INTERPRETER: [FOREIGN LANGUAGE: Before I ask you (Mr.) any question, I will refer
    you as Mr. since it is official, I will explain the rights that you have.].

    MASPHAL KRY: [FOREIGN LANGUAGE: Yes.].

    INTERPRETER: Yes.

    FERNANDO GATTORNO: You have the right to remain silent. Do you understand this right?

    INTERPRETER: [FOREIGN LANGUAGE: You have the right to remain silent.].

    FERNANDO GATTORNO: And what was his response?

    MASPHAL KRY: [FOREIGN LANGUAGE: Yes, yes.].

    INTERPRETER: Yes, yes.

    FERNANDO GATTORNO: Okay. Anything you say can be used against you in a court of
    law. Do you understand this right?

    INTERPRETER: [FOREIGN LANGUAGE: Anything you say can be used against you in a
    court of law. Do you understand?].

    MASPHAL KRY: [FOREIGN LANGUAGE: Did you mean that my responses would be used
    in a court?].

    INTERPRETER: Are you saying that my responses will be used in a court of law?

    FERNANDO GATTORNO: Anything he says can be used against him, yes.

    INTERPRETER: [FOREIGN LANGUAGE: Anything you say can be used against you.].


                                                                                       38
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    4040
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    MASPHAL KRY: [FOREIGN LANGUAGE: Yes, yes.].

    INTERPRETER: Yes, yes.

    FERNANDO GATTORNO: Okay. You have the right to consult with a lawyer before
    questioning and have a lawyer present during questioning. Do you understand this right?

    INTERPRETER: [FOREIGN LANGUAGE: You have the right to get help from a lawyer
    during and after questioning. Do you understand?].

    MASPHAL KRY: [FOREIGN LANGUAGE: He has already started to do the questioning, so
    I cannot a lawyer in time. That is why I would like to meet the embassy.].

    INTERPRETER: So, right now, you are asking me questions and I don’t have a lawyer. And
    that’s why I’m requesting to see or meet with an ambassador at the consul.

    [01:10:02]

    FERNANDO GATTORNO: That’s fine. Explain to Mr. Kry that I’m making him aware of his
    rights. And I just need to know whether he understands what I’m telling him.

    INTERPRETER: [FOREIGN LANGUAGE: You can do that, but I am just telling you of the
    rights that you have.].

    FERNANDO GATTORNO: It should be yes or no.

    INTERPRETER: [FOREIGN LANGUAGE: Please answer with a yes or a no.].

    MASPHAL KRY: [FOREIGN LANGUAGE: I know the rights, but he has already started to
    do the questioning. How can I have [a lawyer] if he has already started?].

    INTERPRETER: So, since you are asking me questions already and now you are saying I have
    the right to have a lawyer [INDISCERNIBLE 01:10:48].

    FERNANDO GATTORNO: Correct. But I haven’t questioned him anything. I’m advising him
    of his rights. The problem is the rights are worded as questions. I need to know if he understands
    what I’m reading him. So, he understands his rights. I just need to know that.

    INTERPRETER: [FOREIGN LANGUAGE: Questioning has not been started yet. It is just an
    advisement of the rights that you have.].

    MASPHAL KRY: [FOREIGN LANGUAGE: I agree if it is not a questioning, just a discussion
    of advisement. However, the problem is that he said that my responses would be used in a
    court.].



                                                                                                   39
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    4141
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    INTERPRETER: So, the questions are they just advice or the consultation of these responses
    will be used in the court of law?

    FERNANDO GATTORNO: Well they’re, well they’re for us documenting that he understands
    the rights that I’m reading. These are the rights that are afforded to him here in the United States
    that may be different from Cambodia.

    INTERPRETER: [FOREIGN LANGUAGE: This is just about the rights you have that we
    need to inform you, and the rights might be different to those in Cambodia. We are reading it as
    a way of documenting.].

    MASPHAL KRY: [FOREIGN LANGUAGE: I do not understand the point. Please explain. I
    know that the rights might be different, but to where will he take the documentation?].

    INTERPRETER: So, I don’t understand the difference there. The difference between the
    relationship of United States and Cambodia, and the records that you that you have right now,
    that you are recording right now. Where do you take it to? Where do you present it to?

    FERNANDO GATTORNO: The, listen, we will answer absolutely every one of those
    questions if he likes, I need to get through these rights so that he understands everything he’s got.

    INTERPRETER: [FOREIGN LANGUAGE: First, he will just explain the rights that you
    have, so please ask the questions later.].

    MASPHAL KRY: [FOREIGN LANGUAGE: I have informed him, and he has known about
    the paper. The documentation of the questioning…Can you catch me if I speak this slowly.].

    INTERPRETER: [FOREIGN LANGUAGE: Please speak a sentence by a sentence.].

    MASPHAL KRY: [FOREIGN LANGUAGE: To where will he take the interviewing
    documentation?].

    INTERPRETER: So, the document that you are interview me, or you ask me, where will you
    take it to?

    DOROTHY MANERA: Ok, let me just try something here. This document that is in front of
    you is the – these are your rights while you are in the United States of America. Your answers…

    INTERPRETER: [FOREIGN LANGUAGE: The document in front of you is about the rights
    that you have while you are in the United States.].

    DOROTHY MANERA: The answers to these questions are not going to be used against you.
    The answers to these questions are to make sure you understand what your rights are, while you
    are in America.




                                                                                                      40
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    4242
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    INTERPRETER: [FOREIGN LANGUAGE: The answers to the questions will not be used
    against you. It is just about the rights that you have while you are in the United States.].

    [01:15:01]

    DOROTHY MANERA: However, after you tell us that you understand your rights in America,
    you will then have a choice whether you would like to speak to us or have an attorney present.

    INTERPRETER: [FOREIGN LANGUAGE: After you understand your rights, you can decide
    whether you will speak directly with us or meet a lawyer.].

    MASPHAL KRY: Oh okay.

    DOROTHY MANERA: If you decide to speak with us, after advising us that you understand
    these rights, the questions that we may ask at that point are what may be used against you.

    INTERPRETER: [FOREIGN LANGUAGE: After you understand the rights and you decide to
    speak with us, that is when your answers can be used against you in a court.].

    DOROTHY MANERA: So, let’s go back to the document, the Miranda waiver, so that we can
    finish explaining your rights.

    INTERPRETER: [FOREIGN LANGUAGE: Let’s get back to the documentation of the waiver
    so that you can understand what rights you have in the United States.].

    MASPHAL KRY:           [FOREIGN LANGUAGE: Like what I said earlier, I will share any
    information I can.].

    INTERPRETER: Okay, so I would like to let you know that I can share some information that
    I know—

    DOROTHY MANERA: Hold on, hold on a second, before you share any information that you
    may know, we need to make sure you understand all your rights that are in this Miranda waiver.
    So, let’s continue with the next item.

    INTERPRETER: [FOREIGN LANGUAGE: Hold on! Before you share any information, we
    will explain to you so that you understand the rights that you have in the waiver.].

    MASPHAL KRY: [FOREIGN LANGUAGE: I know that. I understand that it will not be
    100%. Like what I said, I will share with them some information, and for the information that I
    am not certain of, I can discuss with the embassy later.].

    INTERPRETER: I do understand some of the advice, so far. Maybe not very well, but then I
    will share the information that I know, and other information I will [INDISCERNIBLE
    01:18:04] the-- I am sorry, I will talk to the embassy.



                                                                                                41
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    4343
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    DOROTHY MANERA: Okay, just so, Mr. Kry, as part of our jobs we have to make sure that
    you understand these rights. That is the first thing before anything else happens.

    INTERPRETER: [FOREIGN LANGUAGE: Before starting to do anything, they want you to
    understand the rights that you have.].

    MASPHAL KRY: [FOREIGN LANGUAGE: Yes, yes.].

    INTERPRETER: Yeah, yeah, yeah.

    FERNANDO GATTORNO: Okay. The next right, if you cannot afford a lawyer, one will be
    appointed to represent you free of charge prior to any questioning.

    INTERPRETER: [FOREIGN LANGUAGE: If you cannot afford a lawyer, they will appoint
    one for you for free of charge.].

    MASPHAL KRY: [FOREIGN LANGUAGE: Thank you for offering a lawyer for me, but I will
    need to meet the embassy first because I am a civil servant.].

    INTERPRETER: So, thank you sir for offering me an attorney, but I do need to meet with the
    e—with the um-- embassy because I am a public worker or an official in the government.

    FERNANDO GATTORNO: Okay, the last thing I need to ask him is, does he understand these
    rights?

    INTERPRETER: [FOREIGN LANGUAGE: The last thing I want to ask you is, do you
    understand the rights?].

    MASPHAL KRY: [FOREIGN LANGUAGE: If I do not say I understand, it will not proceed
    further, so I would like to discuss with them.].

    [01:20:00]

    INTERPRETER: [FOREIGN LANGUAGE: Could you please speak again?].

    MASPHAL KRY: [FOREIGN LANGUAGE: I have not understood the rights in the U.S., but I
    have read the Khmer document, so I have understood some parts of it.].

    INTERPRETER: Okay. So, I did not understand all the rights a-- in the United States yet, but I
    do understand the document written in Khmer [INDISCERNIBLE 01:20:36] – most of it.

    FERNANDO GATTORNO: Okay so, with that being said, this is a waiver that is in front of
    him, and if he wishes to discuss with us anything, he needs to waive these rights so that we can
    ask him questions and we can engage in a dialogue.




                                                                                                 42
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    4444
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    INTERPRETER: [FOREIGN LANGUAGE: This document is called a waiver. If you would
    like to speak with us, you will need to sign on it to waive the rights.].

    MASPHAL KRY: This one waiver?

    DOROTHY MANERA: Yes.

    MASPHAL KRY: [FOREIGN LANGUAGE: I do not understand on the waiving part. Does it
    mean that if I want to speak with him, I need to sign on the document? Is it right?].

    INTERPRETER: So, I understand that if I agree to talk to you, I have to sign this waiver?

    FERNANDO GATTORNO: Correct.

    MASPHAL KRY: [FOREIGN LANGUAGE: Is it the document in Khmer, translated as
    instructions on individual rights?].

    INTERPRETER: Is it the same thing in translation is about the recommendation about the
    individual rights?

    FERNANDO GATTORNO: This is, what’s in front of him is his rights spelled out to him
    followed by two signatures for witnesses and one signature spot for himself.

    INTERPRETER: [FOREIGN LANGUAGE: That is the document about the rights that you
    have, and there are two signature spots for witnesses and one signature spot for you.].

    MASPHAL KRY: [FOREIGN LANGUAGE: Yes, yes.].

    INTERPRETER: Yeah, yeah.

    FERNANDO GATTORNO: Ok if he is open to this we will go ahead and sign this document
    and we would again like to ask him some questions and we can engage in a discussion.

    INTERPRETER: [FOREIGN LANGUAGE: If you sign on the waiver, you can discuss and
    engage in the dialogue with them.].

    MASPHAL KRY: [FOREIGN LANGUAGE: So, if I do not agree to sign and want to discuss
    with the embassy, is it possible?].

    INTERPRETER: So, if I, if I do not agree with or consent to this waiver, can I talk with the
    embassy and?

    FERNANDO GATTORNO: He can, sorry go ahead.

    INTERPRETER: [FOREIGN LANGUAGE: And].



                                                                                                43
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    4545
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    MASPHAL KRY: [FOREIGN LANGUAGE: Sorry, but it is not what I meant.].

    INTERPRETER: Okay. If I agree to talk to you, can I still talk with the ambassador and I am
    sorry it is difficult for me to…

    INTERPRETER: [FOREIGN LANGUAGE: Please speak again.].

    MASPHAL KRY: [FOREIGN LANGUAGE: I wanted to say, if I do not agree to be in this
    discussion, since he already made an appointment with the embassy, can I just consult with the
    embassy?].

    INTERPRETER: Okay okay, if I disagree at this time, can I have the opportunity to speak with
    the ambassador?

    FERNANDO GATTORNO: Alright, let me explain it this way. He does not have to talk to us.
    No, now you hang on. He doesn’t have to talk to us at all. He is still afforded that right to have
    his consulate notified, translate.

    [01:25:03]

    INTERPRETER: [FOREIGN LANGUAGE: You do not have to speak with us, and you can
    consult with the embassy.].

    FERNANDO GATTORNO: Your consulate has been notified as per your request.

    INTERPRETER: [FOREIGN LANGUAGE: Your embassy needs to inform us of the request.].

    FERNANDO GATTORNO: There is no guarantee that the ambassador will show up, but a
    representative provided by that counselor or by that ambassador may show up.

    INTERPRETER: [FOREIGN LANGUAGE: There is no guarantee that the ambassador will
    show up, but he may send a representative to come.].

    FERNANDO GATTORNO: Who Cambodia sends to speak to you and represent you is not
    under our control.

    INTERPRETER: [FOREIGN LANGUAGE: Who Cambodia sends to speak to you is not
    under our control.].

    MASPHAL KRY: [FOREIGN LANGUAGE: Yes, yes.].

    INTERPRETER: Yeah, yes.

    FERNANDO GATTORNO: So, returning to the waiver, in order for us to discuss anything
    associated as to why he is being arrested today. Translate.



                                                                                                   44
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    4646
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    INTERPRETER: [FOREIGN LANGUAGE: Returning to the waiver, in order for us to discuss
    of your arrest today.].

    FERNANDO GATTORNO: We would require the signing of the waiver witnessed by both
    myself and the other agent in the room.

    INTERPRETER: [FOREIGN LANGUAGE: We need the two witnesses, me and another
    agent, to sign.].

    MASPHAL KRY: [FOREIGN LANGUAGE: I know that it will not proceed further if I do not
    sign on it, so I will just need to sign.].

    INTERPRETER: So if there is no signature, there is no progress, shall I, should we continue to
    sign?

    FERNANDO GATTORNO: Well, if, he is agreeing to waive his rights and speak to us? That
    is not a problem. We can do it verbally if he chooses, it doesn’t have to be signed.

    INTERPRETER: [FOREIGN LANGUAGE: If you agree on the waiving, you do not have to
    sign. You just need to agree verbally.].

    MASPHAL KRY: [FOREIGN LANGUAGE: I will do so.].

    INTERPRETER: Okay, so yeah, we can discuss.

    FERNANDO GATTORNO: Excellent. So we are clear, he is waiving his rights as we have
    read them and he is willing to speak to us?

    INTERPRETER: [FOREIGN LANGUAGE: It means you agree to waive the rights and are
    willing to speak with us.].

    MASPHAL KRY: [FOREIGN LANGUAGE: Yes.].

    INTERPRETER: Yeah, yeah.

    FERNANDO GATTORNO: Okay.

    DOROTHY MANERA: So you said earlier you wanted to share, that you had some
    information to share with us.

    INTERPRETER: [FOREIGN LANGUAGE: You said that there was some information you
    wanted to share with us?].

    MASPHAL KRY: [FOREIGN LANGUAGE: If it is the information that I know and I can
    share, I will share it.].



                                                                                               45
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    4747
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    INTERPRETER: So, the questions, I can answer them. I will answer them with the
    information that I have.

    MASPHAL KRY: That I know.

    INTERPRETER: That I know.

    DOROTHY MANERA: Okay, what do you know?

    INTERPRETER: [FOREIGN LANGUAGE: What do you know?].

    MASPHAL KRY: [FOREIGN LANGUAGE: Earlier, I talked with Brian. He said he arrested
    me because I had been involved in wildlife trafficking, and I said, no, I had not.].

    INTERPRETER: [FOREIGN LANGUAGE: I was arrested because of the wildlife property.].

    MASPHAL KRY: [FOREIGN LANGUAGE: We discussed about the background, and he has
    become to know a lot about it.].

    INTERPRETER:     And so we talked about the background, and we know another
    [INDISCERNIBLE 01:29:35.

    FERNANDO GATTORNO: Okay, so I am putting in front of him the actual arrest warrant for
    his person.

    INTERPRETER: [FOREIGN LANGUAGE: In front of you, is your arrest warrant.].

    FERNANDO GATTORNO: The two charges on there that he is being arrested for are
    conspiracy to traffic wildlife; and smuggling protective wildlife.

    [01:30:01]

    INTERPRETER: [FOREIGN LANGUAGE: The two charges are on conspiracy to trafficking
    wildlife and smuggling wildlife.].

    MASPHAL KRY: [FOREIGN LANGUAGE: In his country?].

    INTERPRETER: In your country?

    DOROTHY MANERA: Yes.

    FERNANDO GATTORNO: Yes. Okay, the second piece of paper that I’m putting in front of
    him is his identifiers that identifies him.

    INTERPRETER:       [FOREIGN LANGUAGE: The next document is your identification
    document.].


                                                                                        46
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    4848
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    MASPHAL KRY: [FOREIGN LANGUAGE: But, there are many names, and one of which is
    mine.].

    INTERPRETER: [INDISCERNIBLE 01:30:58] there also are names, and one of the names is
    my name.

    FERNANDO GATTORNO: Correct. And is the birthday correct?

    MASPHAL KRY: Yes.

    INTERPRETER: Yes.

    INTERPRETER: [INDISCERNIBLE].

    FERNANDO GATTORNO: Is his employment correct?

    MASPHAL KRY: This one? Birth month?

    FERNANDO GATTORNO: Month, day, year.

    MASPHAL KRY: June 15, 76.

    DOROTHY MANERA: Is that accurate?

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: Okay, correct. How about place of employment?

    INTERPRETER: [FOREIGN LANGUAGE: How about place of employment?].

    MASPHAL KRY: [FOREIGN LANGUAGE: Yes, yes.].

    INTERPRETER: Yes.

    FERNANDO GATTORNO: Okay. So, just so we’re on the same page, this is you?

    INTERPRETER: [FOREIGN LANGUAGE: Is this your name?].

    MASPHAL KRY: [FOREIGN LANGUAGE: Yes.].

    INTERPRETER: Yes.

    FERNANDO GATTORNO: Okay. Before we started talking, you mentioned you had some
    information.



                                                                                     47
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    4949
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    INTERPRETER: [FOREIGN LANGUAGE: Before we started talking, you mentioned you had
    some information.].

    MASPHAL KRY: [FOREIGN LANGUAGE: I discussed the information with them already,
    about my background or so.].

    INTERPRETER: So the information we discussed already, about my background and so forth.

    MASPHAL KRY: [FOREIGN LANGUAGE: About wildlife management and prevention of
    wildlife trafficking.].

    INTERPRETER: About the management of the administration of the wildlife and the –

    INTERPRETER: [FOREIGN LANGUAGE: The last one?].

    MASPHAL KRY: [FOREIGN LANGUAGE: About combatting of wildlife crimes.].

    INTERPRETER: About the control of the [INDISCERNIBLE 01:32:52] of the wildlife.

    MASPHAL KRY: [FOREIGN LANGUAGE: I do not know what they want to know more
    about the matter.].

    INTERPRETER: And I don’t know what else you need to know about this.

    FERNANDO GATTORNO: Right. So, just so we’re on the same page and we get it on the
    record, he’s been employed 20 years.

    INTERPRETER: [FOREIGN LANGUAGE: You have worked there for 20 years?].

    MASPHAL KRY: [FOREIGN LANGUAGE: Yes, yes.].

    FERNANDO GATTORNO: By MAFF M-A-F-F.

    INTERPRETER: Yeah, yes.

    FERNANDO GATTORNO: In what capacity has he been employed?

    INTERPRETER: [FOREIGN LANGUAGE: In what capacity have you been employed?].

    MASPHAL KRY: [FOREIGN LANGUAGE: Now. I am the director of the Department of
    Wildlife and Biodiversity.].

    INTERPRETER: Right now, I am the executive, executive of the –

    MASPHAL KRY: [FOREIGN LANGUAGE: No, no.].



                                                                                         48
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    5050
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    INTERPRETER: The president of the office.

    FERNANDO GATTORNO: Director?

    MASPHAL KRY: Director of Department of Wildlife and Biodiversity.

    FERNANDO GATTORNO: You indicated that you came to the United States to the I-C-C-A?

    INTERPRETER: [FOREIGN LANGUAGE: You indicated that you came to the United States
    via the I-C-C-A?].

    MASPHAL KRY: [FOREIGN LANGUAGE: I used to come for a training [course].].

    INTERPRETER: I came here for training.

    FERNANDO GATTORNO: What training was received?

    MASPHAL KRY: Leadership. Leadership.

    DOROTHY MANERA: Leadership?

    MASPHAL KRY: Yeah. Leadership [FOREIGN LANGUAGE: Long time ago, maybe 2018, I
    forgot.].

    INTERPRETER: In 2018, I forgot.

    MASPHAL KRY: [FOREIGN LANGUAGE: Long time ago.].


    MASPHAL KRY: January.

    INTERPRETER: In one.

    [01:35:00]

    FERNANDO GATTORNO: Okay. What kind of leadership training did he receive here in the
    United States?

    INTERPRETER: [FOREIGN LANGUAGE: What kind of leadership training did you receive
    in the United States?].

    MASPHAL KRY: [FOREIGN LANGUAGE: The course was about how a management should
    be done, how to collect information and what kind of character should a leader has.].

    INTERPRETER: So, it’s the leadership about what kind of leadership we want to have, what
    kind of characters and, yeah, what kind of leaderships that we would be wanting to have.


                                                                                          49
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    5151
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    DOROTHY MANERA: Related to wildlife?

    MASPHAL KRY: No.

    DOROTHY MANERA: Related to what?

    INTERPRETER: [FOREIGN LANGUAGE: Related to wildlife?].

    MASPHAL KRY: [FOREIGN LANGUAGE: Related to management.].

    INTERPRETER: Management or administration.

    DOROTHY MANERA: Enforcement?

    MASPHAL KRY: [FOREIGN LANGUAGE: There was also parts about enforcement, but
    most was about management.].

    INTERPRETER: Mostly, mostly about the management.

    FERNANDO GATTORNO: Okay. Did he receive any other training sponsored by the United
    States?

    INTERPRETER: [FOREIGN LANGUAGE: Did you receive any other training sponsored by
    the United States?].

    MASPHAL KRY: [FOREIGN LANGUAGE: It was long time ago. I first came to the United
    States to a take a course about Tiger projects, but I do not remember the title of the course. It
    may have been 10 years or something.].

    INTERPRETER: It’s been a while [INDISCERNIBLE 01:36:52].

    MASPHAL KRY: [FOREIGN LANGUAGE: More than 10 years ago.].

    INTERPRETER: Ten years ago.

    FERNANDO GATTORNO: Okay.

    INTERPRETER: Ten years ago and forgot the title of the training.

    FERNANDO GATTORNO: Okay. Was it the International Law Enforcement Academy?

    MASPHAL KRY: [FOREIGN LANGUAGE: No, no.].

    INTERPRETER: No, no.



                                                                                                  50
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    5252
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    MASPHAL KRY: [FOREIGN LANGUAGE: At that time, I was in charge of the Tiger
    projects, and I came for a meeting, and at the same time, there was a study course.].

    INTERPRETER: It was about tigers about the lives of tigers that I have training on.

    MASPHAL KRY: About tiger conservation.

    INTERPRETER: The conversation.

    FERNANDO GATTORNO: Where did this training take place?

    MASPHAL KRY: [FOREIGN LANGUAGE: Maybe, in Washington as well.].

    INTERPRETER: It’s in Washington as well.

    FERNANDO GATTORNO: Okay. He mentioned that this administration is very strong on
    wildlife trafficking, or against wildlife trafficking, I should say.

    INTERPRETER: [FOREIGN LANGUAGE: You mentioned that your administration is very
    effective on wildlife management.].

    MASPHAL KRY: [FOREIGN LANGUAGE: I did not say that we had strong influence. An
    official from my department is cooperating with an NGO.].

    INTERPRETER: No, it’s not strong, but if my colleague was working with the NGO, and the
    NGOs --

    MASPHAL KRY: [FOREIGN LANGUAGE: The one that I discussed with him, the Wildlife
    Alliance.].

    INTERPRETER: And they discussed that wildlife with NGOs.

    MASPHAL KRY: [FOREIGN LANGUAGE: I discussed with one of his team earlier.].

    INTERPRETER: Oh, sorry, sorry. I suspect that this issue with your colleague?

    FERNANDO GATTORNO: Yes. We specifically are discussing Wildlife Alliance.

    INTERPRETER: [FOREIGN LANGUAGE: Yes.].

    MASPHAL KRY: [FOREIGN LANGUAGE: One of my officials worked as team leader in
    cooperating with the NGO, Wildlife Alliance.].

    INTERPRETER: One of my officers worked with a leader of the group and worked with the
    NGOs.



                                                                                          51
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    5353
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    MASPHAL KRY: [FOREIGN LANGUAGE: My department is also in charge of the matter,
    but mostly we focus on the conservation.].

    [01:40:02]

    INTERPRETER: [FOREIGN LANGUAGE: Excuse me, but please speak a sentence by a
    sentence so that I can interpret effectively. Please speak from the department part.].

    MASPHAL KRY: [FOREIGN LANGUAGE: Since the department has officials who are
    working in combatting the crimes, we are cooperating with the NGO to prevent the wildlife
    trafficking.].

    INTERPRETER: Oh, so the department had the executive director who control and corporate
    to work with the NGO.

    MASPHAL KRY: [FOREIGN LANGUAGE: I want to clarify that my department is also in
    charge of preventing wildlife trafficking since there are officials from my department who are
    working with the NGO, Wildlife Alliance, in preventing the crimes.].

    INTERPRETER: Ok so, just wanted to point that out and wanted to comment along with the
    officer who is working with the NTO to manage and control the wildlife and also to point out the
    difficult mapping.

    FERNANDO GATTORNO: Perfect. And who is in charge of his administration? His division?

    INTERPRETER: [FOREIGN LANGUAGE: Who is in charge of your ministry?]

    MASPHAL KRY: [FOREIGN LANGUAGE: If you talk about the ministry, it is the minister
    who is in charge. But in my case, it is a department.].

    INTERPRETER: So, the department has the --

    MASPHAL KRY: No, no. [FOREIGN LANGUAGE: Excuse me, in Khmer, we call it ministry.
    Like what I explained to him earlier, the minister is in charge of the ministry. Under the ministry,
    there is the Forestry Administration. The department is under the Forestry Administration.].

    INTERPRETER: Okay. So, the department are controlled by the Minister and then after that is
    the [INDISCERNIBLE 01:42:38] of administration and the director of of the wildlife.

    MASPHAL KRY: [FOREIGN LANGUAGE: I want to reclarify the structure. The highest one
    is the ministry. Under the ministry, there is the Forestry Administration, and the person in
    charge is General Director. The department is under the administration.].

    INTERPRETER: It seems like he knows the title of the departments maybe he can say it in his
    words [INDISCERNIBLE 01:43:16] because it’s [FOREIGN LANGUAGE: Can you say the
    titles, like ministry, department or minister in English?].


                                                                                                     52
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    5454
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    MASPHAL KRY: [FOREIGN LANGUAGE: Yes, yes. Please ask him if I can say that in
    English?].

    INTERPRETER: [FOREIGN LANGUAGE: Yes, you can say that in English.].

    MASPHAL KRY: [FOREIGN LANGUAGE: Please translate for him.].

    INTERPRETER: So, because he’s [INDISCERNIBLE 01:43:51] of department so he would
    like to say in English [INDISCERNIBLE 01:43:58] so that there is no confusion about the titles.

    FERNANDO GATTORNO: Okay.

    MASPHAL KRY: There is a ministry, and under the ministry there are general departments.
    And the Ministry of Agriculture [INAUDIBLE1:44:19-1:44:23], and then they have several
    general departments, but the general department who are managing wildlife is Forestry
    Administration.

    DOROTHY MANERA: And who’s in charge of that?

    MASPHAL KRY: My boss [INDISCERNABLE 01:44:45] Omaliss.

    FERNANDO GATTORNO: What was that again?

    MASPHAL KRY: Keo Omaliss. Omaliss Keo.

    DOROTHY MANERA: Omaliss.

    FERNANDO GATTORNO: Omaliss?

    MASPHAL KRY: Yeah. And then under there is the department because is
    [INDISCERNIBLE 01:45:00] department of wildlife and forestry.

    [01:45:01]

    FERNANDO GATTORNO: Can you have him spell the name of his boss? Spell it.

    INTERPRETER: [FOREIGN LANGUAGE: Can you spell the name of your boss?].

    MASPHAL KRY: [FOREIGN LANGUAGE: I will spell in English.]. K, the family name K-E-
    O. His name O-M-A-L-I-S-S.

    FERNANDO GATTORNO: O-M-A-L-I-S-S?

    MASPHAL KRY: Yes, double S.



                                                                                                 53
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    5555
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    FERNANDO GATTORNO: Omaliss?

    MASPHAL KRY: Yep.

    FERNANDO GATTORNO: Okay. That’s your boss?

    MASPHAL KRY: Yes. He’s my boss.

    FERNANDO GATTORNO: What’s his title?

    MASPHAL KRY: The Director of General. General Director.

    DOROTHY MANERA: Director General of Forest Administrations?

    MASPHAL KRY: Yep.

    FERNANDO GATTORNO: I’m trying to understand the hierarchy. Ask you pointed questions
    specific to your job.

    MASPHAL KRY: Yep, yep. [INDISCERNIBLE 01:46:09] the hierarchy [INDISCERNIBLE
    01:46:11] and the department also had the office. Office is a lower level [INDISCERNIBLE
    01:46:20].

    FERNANDO GATTORNO: Okay, so that’s like --

    MASPHAL KRY: That is a little low level. [INDISCERNIBLE 01:46:26]

    FERNANDO GATTORNO: A national level?

    MASPHAL KRY: A sub-national level.

    FERNANDO GATTORNO: Okay, and then like a city level? Translate if you can. Would it be
    a city-level, a national-level and a city level office?

    MASPHAL KRY: Hello.

    DOROTHY MANERA: Hello.

    FERNANDO GATTORNO: Did we lose you?

    INTERPRETER: Oh, no. Sorry, yeah, city level [FOREIGN LANGUAGE: refers to the level
    of cities.].

    MASPHAL KRY: [FOREIGN LANGUAGE: Our government has divided performing of tasks
    into two levels, national and sub-national.].



                                                                                           54
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    5656
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    INTERPRETER: So, the national level and the local level.

    FERNANDO GATTORNO: Which one does Mr. Kry represent?

    INTERPRETER: [FOREIGN LANGUAGE: Which one do you represent?].

    MASPHAL KRY: [FOREIGN LANGUAGE: Department.].

    INTERPRETER: Executive Director.

    MASPHAL KRY: [FOREIGN LANGUAGE: For my case, it is department.].

    INTERPRETER: Um, director. So, he understands his title with the level of degree shown in --
    it’s more like executive director.

    DOROTHY MANERA: He’s the Director of the section of Wildlife and Fire Diversity.

    INTERPRETER: Yes.

    DOROTHY MANERA: Okay. And is that position a national-level position or a local-level
    position?

    MASPHAL KRY: National.

    DOROTHY MANERA: National. Okay. And then under you, do the local-level report to you?

    MASPHAL KRY: Office level.

    DOROTHY MANERA: Okay, they report to you.

    MASPHAL KRY: [INDISCERNIBLE 01:48:44] they report to me and [INDISCERNIBLE
    01:48:47] sometimes they share sometimes not.

    FERNANDO GATTORNO: So, the individual that is working with Wildlife Alliance, the staff.
    He reports to you?

    MASPHAL KRY: C-C.

    FERNANDO GATTORNO: What is C-C?

    MASPHAL KRY: Copy [INDISCERNIBLE 01:49:12].

    DOROTHY MANERA: Like in an email?




                                                                                              55
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    5757
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    MASPHAL KRY: No. [INDISCERNIBLE 01:49:17] department. In the department of forestry
    administration, they also had another department called Department of [INDISCERNIBLE
    01:49:42].

    DOROTHY MANERA: Regulation and?

    MASPHAL KRY: [INDISCERNABLE 01:49:39] like a law enforcement [INDISCERNABLE
    01:43].

    FERNANDO GATTORNO: Okay.

    MASPHAL KRY: Okay.

    DOROTHY MANERA: Okay.

    MASPHAL KRY: So, they is who will report to that department and copy to me. The many
    report. The many activity report.

    [01:49:56]

    DOROTHY MANERA: Okay. So, the individual employee for the Forestry Administration to
    that Wildlife Alliance reports directly to --

    MASPHAL KRY: [INDISCERNIBLE 01:50:11] It’s just a counterpart.

    DOROTHY MANERA: A counter part of who?

    MASPHAL KRY: [INDISCERNIBLE 01:50:17]

    FERNANDO GATTORNO: But he is [INDISCERNIBLE 01:50:19].

    MASPHAL KRY: Yep.

    FERNANDO GATTORNO: Okay.

    DOROTHY MANERA: What’s that person’s name?

    MASPHAL KRY: [INDISCERNIBLE 01:50:23].

    FERNANDO GATTORNO: Spell it.

    MASPHAL KRY: [INDISCERNIBLE 01:50:27] come from the family. [INDISCERNIBLE
    01:50:31].

    FERNANDO GATTORNO: Let me check. Okay.



                                                                                           56
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    5858
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    DOROTHY MANERA: Who does he report to? Who’s his boss?

    MASPHAL KRY:        He reports to the department of law enforcement and C-C Police.

    DOROTHY MANERA: Okay. When you say CC, do you mean –

    MASPHAL KRY: Copy, copy.

    DOROTHY MANERA: In correspondence?

    MASPHAL KRY: No. Monthly activity report.

    DOROTHY MANERA: Monthly activity report.

    MASPHAL KRY: Yeah.

    DOROTHY MANERA: Where the law enforcement also get CC.

    MASPHAL KRY: One month he would go out to this area, they would track down this area,
    the name animal, the [INDISCERNIBLE 01:51:19].

    DOROTHY MANERA: Okay.

    MASPHAL KRY: Monthly activity report.

    FERNANDO GATTORNO: Are you authorized to provide any instruction to Mr. --

    MASPHAL KRY: No. No. No.

    FERNANDO GATTORNO: Mr. -- [INDISCERNABLE 01:51:30]

    FERNANDO GATTORNO: Then who does he report to directly? Who gives him his orders?

    MASPHAL KRY: By administration, with staff they call to the director.

    DOROTHY MANERA: Omaliss?

    MASPHAL KRY: To get the the the report to to the Omaliss and then through through the now
    enforcement department.

    FERNANDO GATTORNO: Do you have any individuals that work for you? With you?

    MASPHAL KRY: No, you me-- you mean in my staff? My staff is the government
    [INDISCERNABLE 01:52:26] in the government just.

    DOROTHY MANERA: How many employees do you supervise?


                                                                                            57
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    5959
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    MASPHAL KRY: Actually 40.

    DOROTHY MANERA: 40?

    MASPHAL KRY: But the Cambodian, sometimes they have more than one job so sometime
    come in the morning or afternoon, but 40.

    DOROTHY MANERA: And why why do you receive a C-C from the list of law enforcement?

    MASPHAL KRY: Because if something change in my staff and --

    FERNANDO GATTORNO: Oh, okay.

    MASPHAL KRY: [INDISCERNIBLE 01:53:06]

    FERNANDO GATTORNO: [INDISCERNIBLE 01:53:18] Do you ever attend meetings on
    behalf of Mr. Kio?

    MASPHAL KRY: No. What do you mean on behalf? International or nationally?

    FERNANDO GATTORNO: Anywhere.

    MASPHAL KRY: Because he is the director, his [INDISCERNIBLE 01:53:51] sometimes
    director busy so he asked me to go workshop on behalf.

    FERNANDO GATTORNO: So yes, the answer is yes.

    MASPHAL KRY: Yes.

    FERNANDO GATTORNO: Okay.

    MASPHAL KRY: It’s the national, but international no because this is for the
    [INDISCERNIBLE 01:54:09] specially he use to jam with the international meeting
    [INDISCERNIBLE 01:54:16].

    FERNANDO GATTORNO: So, I’m going to put it in my way and just translate for me. So, he
    attends meetings on behalf of Dr. Keo domestically.

    MASPHAL KRY: Yeah. Sometimes, sometimes not always.

    FERNANDO GATTORNO: Okay, not always but sometimes he asks you to attend meetings.

    MASPHAL KRY: Yeah, meeting or workshops.




                                                                                        58
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    6060
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    FERNANDO GATTORNO: Or workshops. All right, you want to get in it? Alright, come on
    out I’m going go out real quick. Um, so, there something that is very important.

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: You waived your rights, which is great.

    [01:55:00]

    We like the discussion. We like that you’re open. One thing that will get you in even more
    trouble and it is something that you do not need is lying to us. This is an official investigation. So,
    what we don’t want is for you to be on that side lying. That we know you’re lying. So, I am
    going to ask you some questions now that are very specific to knowledge that we have. So, if
    your intention is to lie, if your intention is to lie do not. You understand?

    MASPHAL KRY: I’m not intention to lie.

    DOROTHY MANERA: Can you please translate?

    INTERPRETER: [FOREIGN LANGUAGE: If you have intention to lie, it is a different story.].
    Could you repeat the [INDISCERNIBLE 01:55:56].

    FERNANDO GATTORNO: Certainly. I’m going to ask him some questions, some very
    specific questions that we already have information on.

    INTERPRETER: [FOREIGN LANGUAGE: We will ask you some questions that we already
    have information on.].

    FERNANDO GATTORNO: If his intention is to lie regarding those questions or the answers
    provided, I’d rather him not say anything.

    INTERPRETER: [FOREIGN LANGUAGE: If you have intention to lie about the information
    we have, I want you to say nothing.].

    FERNANDO GATTORNO: And so, we’re clear, lying to agents of the government during an
    investigation is an additional charge.

    INTERPRETER: [FOREIGN LANGUAGE: I want to clarify that, if you lie to government
    agents, there will be additional charges.].

    MASPHAL KRY: [FOREIGN LANGUAGE: Yes, yes.].

    INTERPRETER: Yes.

    FERNANDO GATTORNO: Okay. Did Mr. Omaliss send you to a meeting to represent him
    [INDISCERNIBLE 01:57:16] with Vanny Bio-Research Cambodia?


                                                                                                        59
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    6161
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    MASPHAL KRY: Okay. No.

    DOROTHY MANERA: Are you familiar with that facility?

    MASPHAL KRY: [FOREIGN LANGUAGE: I am in charge of my department.].

    INTERPRETER: I managed her under my department.

    MASPHAL KRY: [FOREIGN LANGUAGE: There are farms for rearing and breeding.].

    INTERPRETER: [FOREIGN LANGUAGE: Hmm.].

    MASPHAL KRY: [FOREIGN LANGUAGE: Rearing and breeding.].

    INTERPRETER: Okay, this is place to --

    MASPHAL KRY: Breeding, breeding.

    INTERPRETER: Breeding.

    MASPHAL KRY: [FOREIGN LANGUAGE: I will explain to him in English. Please tell him I
    will explain him in English.].

    INTERPRETER: Okay, so, [INDISCERNIBLE 01:58:25] he will go back and explain in
    English.

    DOROTHY MANERA: Okay.

    MASPHAL KRY: So, under my department, there’s a farm, a monkey farm that is long-tailed
    macaques. Farm, that is legally farmed. [INDISCERNABLE 01:58:50] is the first farm in
    Cambodia that do the [INDISCERNABLE 01:58:54] breeding for export. That is legally
    [INDISCERNABLE 01:59:01] the farm approved by the Minister since I think
    [INDISCERNABLE 01:59:06] official, probably twenty years old.

    FERNANDO GATTORNO: Okay, we want to talk to you about --

    MASPHAL KRY: [INAUDIBLE1:59:11-1:59:15]

    DOROTHY MANERA: Okay, so just to recap. There are five long tail macaques breeding
    farms in Cambodia.

    MASPHAL KRY: Uhum.

    DOROTHY MANERA: One of which is Vanny.



                                                                                          60
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    6262
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    MASPHAL KRY: [INDISCERNIBLE 01:59:22]

    DOROTHY MANERA: Have you been to Vanny, either of the Vanny locations in Pursat or
    Phnom Penh?

    MASPHAL KRY: I believe there’s two, one in Pursat and one in Phnom Penh.

    DOROTHY MANERA: Have you been to those locations?

    MASPHAL KRY: I been there probably two or three years ago when I was not responsible of
    this a—a-- [INDISCERNIBLE 01:59:55].

    DOROTHY MANERA: When you were what?

    MASPHAL KRY: [INDISCERNIBLE 01:59:54]

    DOROTHY MANERA: What is that?

    FERNANDO GATTORNO: Deputy?

    MASPHAL KRY: The Deputy director.

    FERNANDO GATTORNO: Oh, deputy.

    MASPHAL KRY: 3 year ago

    [02:00:02]

    DOROTHY MANERA: And that was Deputy Director of?

    MASPHAL KRY: Wildlife department. Because you know, whenever you want to do the
    export the monkey to the United States or to Japan, export to Japan, to South Korea. First, the
    company had to request the quota.

    DOROTHY MANERA: Had to request what?

    FERNANDO GATTORNO: They have to request the quota.

    MASPHAL KRY: The quota. For the more how many 1000 or 5000 something like that. Then
    they submit the paper to FA and I think [INDISCERNIBLE 02:00:56] FA sends paper to my
    department. [INDISCERNABLE 02:01:06] I send my staff to check.

    DOROTHY MANERA: To check what?

    MASPHAL KRY: To check the farm.



                                                                                                      61
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    6363
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    FERNANDO GATTORNO: To check the farm?

    MASPHAL KRY: To check the farm, to check the monkey.

    MANERO: What do they check? What are they looking for?

    MASPHAL KRY: How to check the [INDISCERNIBLE 02:01:21 ] whether, for example you
    request of 100 hundred monkey quota. So they have to check whether they have that monkey or
    not, the monkey have the code or something or not, everything [INDISCERNIBLE 02:01:45] the
    necklace with the code a—they have to clear that the-- they put in the better condition correctly
    make sure[INDISCERNIBLE 02:01:55]

    DOROTHY MANERA: So, they have to check to make sure they have a neck, a collar with a
    tag on it and that they are in quarantine.

    MASPHAL KRY: In quarantine. Sometime because a-- there are [INDISCERNIBLE 02:02:05]
    and count that that is correct or not, then they [INDISCERNIBLE 02:02:15] if its correct. They
    report to me, and then I report to FA, FA then report to MAFF. Then MAFF the minister the
    quota. [INDISCERNIBLE 02:02:27] So whenever you have the quota for example
    [INDISCERNABLE 02:02:32] quota request 100, but some you cannot export all one time in
    [INDISCERNIBLE 02:02:38] so so then in the [INDISCERNIBLE 02:02] twenty half 100.
    Then you can come and submit the quota again that you are going to request 20 years more for
    exporting to the United States. Then, the company [INDISCERNIBLE 02:03:03] then no send
    them to recheck again because the animal are in quarantine they not allow anybody go in the
    [INDISCERNIBLE 02:03:20].

    FERNANDO GATTORNO: Uhum.

    MASPHAL KRY: While they request transport [INDISCERNIBLE 02:03:24]
    [INDISCERNIBLE 02:03:19] transportation permit. The transportation permit.

    FERNANDO GATTORNO: Transportation permit.

    MASPHAL KRY: Then, we [INDISCERNIBLE 02:03:39] the transport permit from officer of
    the farm to airport.

    FERNANDO GATTORNO: Um.

    MASPHAL KRY: But whenever we give them the transportation permit permit, we have to
    have all information, the CITES permit, and the data of all the…

    DOROTHY MANERA: The monkey data.

    MASPHAL KRY: The monkey data, yes because [INDISCERNIBLE 02:04:08]. Especially,
    the the CITES permit.



                                                                                                   62
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    6464
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    DOROTHY MANERA: Uhum.

    FERNANDO GATTORNO: Uhum.

    MASPHAL KRY: Yeah. So, when we check all set of document we have the CITES permit,
    the monkey data and a--

    DOROTHY MANERA: The health certificate?

    MASPHAL KRY: Pardon?

    DOROTHY MANERA: The health certificate?

    MASPHAL KRY: Health certificate, yes. Health certificate is shown by department of Animal
    and Health, not mine [INDISCERNIBLE 02:04:36].

    [BACKGROUND CONVERSATION]

    FERNANDO GATTORNO: Oh my gosh. Appreciate it.

    MASPHAL KRY: So, the interview – [INDISCERNIBLE 02:04:55] transportation permit. So
    they can transport the animal from the farm direct to airport. But they are not [INDISCERNIBLE
    02:05:03].

    [02:05:09]

    FERNANDO GATTORNO: Okay. So, my question is, have you ever been in a meeting where
    they were discussing quotas?

    MASPHAL KRY: No.

    FERNANDO GATTORNO: Were you ever in a meeting where they discussed royalties paid
    to Cambodia?

    MASPHAL KRY: [INDISCERNIBLE 02:05:28]

    FERNANDO GATTORNO: Payments.

    MASPHAL KRY: [INDISCERNIBLE 02:05:30]

    FERNANDO GATTORNO: You can translate if you’d like.

    INTERPRETER: [FOREIGN LANGUAGE It means the payment of royalty.]




                                                                                                63
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    6565
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    MASPHAL KRY: A-- I’m not quite sure. E-- They have one – it’s not a discres--
    [INDISCERNIBLE 02:05:52] its agreed by law. Then they export, the pay tax to their Ministry
    of Finance.

    FERNANDO GATTORNO: Ok, is that is that the royalty tax? Is that what that’s called?

    MASPHAL KRY: This is the pay method. Pay to the Ministry of Finance. And also, yeah yeah
    yeah.

    FERNANDO GATTORNO: How is that tax established? How much is paid?

    MASPHAL KRY: I don’t know because the company, they [INDISCERNIBLE 02:06:30] to
    the Ministry of Finance. It’s not under my my–

    FERNANDO GATTORNO: Is it per animal? Per export? Per year?

    MASPHAL KRY: I think probably per animal.

    FERNANDO GATTORNO: Per animal?

    MASPHAL KRY: I’m not quite sure of this one, because it’s not my my my department. But is
    under department of economy and finance– no, no, not department, ministry.

    DOROTHY MANERA: Ministry.

    MASPHAL KRY: Ministry, yeah. [INDISCERNIBLE 02:06:53] and that Department and the
    Ministry [INDISCERNIBLE 02:06:57] General Department of [INDISCERNIBLE 02:07:01]
    the company [INDISCERNIBLE 02:07:04].

    FERNANDO GATTORNO: Have you ever been in a meeting where they have discussed any
    types of payments?

    MASPHAL KRY: No, no.

    FERNANDO GATTORNO: Like Cambodia to personnel?

    MASPHAL KRY: No.

    FERNANDO GATTORNO: No? All right.

    DOROTHY MANERA: Have you ever received payments from Vanny?

    MASPHAL KRY: No. I did not receive anything from from Vanny. But a-- you know is the
    type because -- what they call it? A-- Vanny, issue the the transportation permit.

    FERNANDO GATTORNO: Uhum.


                                                                                                  64
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    6666
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    MASPHAL KRY: They. It’s not the Vanny or every company. Some company they they give
    me fifteen dollar, or thirty dollar because they ask me a-- like a-- I don’t know, gasoline or
    something like that, like yeah.

    FERNANDO GATTORNO: So, they just, almost like they’re giving you the money? It’s not a
    fee.

    MASPHAL KRY: It’s not a fee because --

    DOROTHY MANERA: Is it expected?

    MASPHAL KRY: No, no, no. Sometimes they pay like a coffee or something
    [INDISCERNIBLE 02:08:29].

    DOROTHY MANERA: Uhum.

    MASPHAL KRY: Yeah.

    DOROTHY MANERA: So, let’s just go back to the beginning one more time.

    MASPHAL KRY: Okay.

    DOROTHY MANERA: Your answers here, that you’re giving, have not being truthful. Some
    of the questions we’re asking we already know the answer to. So that means we know if you’re
    telling us the truth or not.

    MASPHAL KRY: Yes. Yes. I tell you that a-- they pay the [INDISCERNIBLE 02:08:59]
    transportation.

    DOROTHY MANERA: What is the cost for that?

    MASPHAL KRY: Is not. Is sometimes they pay me 15, sometimes like [INDISCERNIBLE
    02:09:13] sometimes they pay me something. Sometimes they happy, they pay me
    [INDISCERNIBLE 02:09:19] for my staff as well.

    DOROTHY MANERA: How did they pay you the money? In cash?

    MASPHAL KRY: Yeah. But you know, one [INDISCERNIBLE 02:09:31] sometimes
    [INDISCERNIBLE 02:09:33] like a coffee something like that.

    DOROTHY MANERA: You give what?

    MASPHAL KRY: Like hot coffee [INDISCERNIBLE 02:09:40].

    FERNANDO GATTORNO: Okay. Food.


                                                                                                     65
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    6767
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    MASPHAL KRY: Yeah, yeah. Food something, yeah.

    FERNANDO GATTORNO: Okay. Who are your principal contacts at Vanny?

    MASPHAL KRY: Vanny, [INDISCERNIBLE 02:09:59].

    MASPHAL KRY: Vanny, [INDISCERNIBLE 02:09:59] was a lady, lady call, a—What is she
    name? One lady she is [INDISCERNIBLE 02:10:13].

    [02:10:12]

    DOROTHY MANERA: At what location?

    MASPHAL KRY: Pardon?

    DOROTHY MANERA: What Vanny location? Phnom Penh or Pursat?

    MASPHAL KRY: Both.

    DOROTHY MANERA: She worked at both?

    FERNANDO GATTORNO: Same lady?

    MASPHAL KRY: Yes, yes.

    FERNANDO GATTORNO: Okay. Are there any other contacts or individuals you speak to or
    have spoken to?

    MASPHAL KRY: [INDISCERNIBLE 02:10:33]

    FERNANDO GATTORNO: Any other person that you interact with?

    DOROTHY MANERA: Who do you talk to at Vanny’s?

    MASPHAL KRY: Sometime when they look the transportation permit because your, whenever
    they order the airplane

    DOROTHY MANERA: Uhum.

    MASPHAL KRY: The transportation permit cannot be late.

    DOROTHY MANERA: Right, can’t be late.

    FERNANDO GATTORNO: Mhm.



                                                                                       66
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    6868
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    MASPHAL KRY: Cannot be late.

    DOROTHY MANERA: Who is the lead that you talked to at Vanny? What’s her name?

    MASPHAL KRY: [INDISCERNIBLE 02:11:02].

    DOROTHY MANERA: You have her name in your phone though.

    MASPHAL KRY: Yeah. But I use [INDISCERNIBLE 02:11:15] like that.

    DOROTHY MANERA: You talked to more than one person at Vanny?

    MASPHAL KRY: No, no, no.

    DOROTHY MANERA: Only the lady?

    MASPHAL KRY: Only the lady.

    FERNANDO GATTORNO: Okay.

    DOROTHY MANERA: And when you get the 20 or 30 dollars…

    MASPHAL KRY: No not 20 years. Not 20 years.

    FERNANDO GATTORNO: No, Dollars.

    DOROTHY MANERA: Dollars. Money. When they give you the money,

    MASPHAL KRY: [INDISCERNIBLE 02:11:44]

    DOROTHY MANERA: Who gives it to you?

    MASPHAL KRY: She gives to me.

    DOROTHY MANERA: The lady.

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: Is it Cambodian currency or US Dollars?

    MASPHAL KRY: Sometimes Cambodian.

    FERNANDO GATTORNO: Sometimes Cambodian sometimes US Dollars?

    MASPHAL KRY: Yes.



                                                                                     67
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    6969
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    DOROTHY MANERA: And on the times that you went to Vanny, you only, you didn’t talk to
    anybody else?
    Only to her?

    MASPHAL KRY: Yes.

    FERNANDO GATTORNO: What was your purpose for going to Vanny?

    MASPHAL KRY: Because like I told you because I was a duty, so, whenever they asked a
    quota my boss asked me to [INDISCERNIBLE 02:12:24]

    DOROTHY MANERA: And your boss is Omaliss?

    MASPHAL KRY: No. No. Eang Savepa.

    DOROTHY MANERA: Oh.

    MASPHAL KRY: Mr. Eang Savepa.

    DOROTHY MANERA: Can you spell that?

    MASPHAL KRY: Eang. E-A-N-G. Savepa. S-A-V-E-P-A.

    FERNANDO GATTORNO: P-A?

    MASPHAL KRY: P-A.

    FERNANDO GATTORNO: S-A-V-E-P-A?

    MASPHAL KRY: Mhm.

    DOROTHY MANERA: Is part of your job using a government vehicle to drive?

    MASPHAL KRY: Yes.

    DOROTHY MANERA: What kind of vehicle did they give you? A car? Truck?

    FERNANDO GATTORNO: Motorcycle? Scooter?

    MASPHAL KRY: [INDISCERNIBLE 02:13:18]

    DOROTHY MANERA: Mitsubishi?

    MASPHAL KRY: Mitsubishi.

    DOROTHY MANERA: Mitsubishi what?


                                                                                           68
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    7070
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    MASPHAL KRY: Mitsubishi.

    DOROTHY MANERA: Is it a car? Truck?

    MASPHAL KRY: Car, car, car.

    DOROTHY MANERA: Car?

    FERNANDO GATTORNO: What kind of car? Just to be specific. Is it a truck? Or is it a car.

    MASPHAL KRY: A Pickup. [INDISCERNIBLE 02:13:40]

    FERNANDO GATTORNO: Pick-up truck. Ok.

    DOROTHY MANERA: Oh.

    FERNANDO GATTORNO: Ans were you accompanied by anybody when you visit Vanny?

    MASPHAL KRY: Before? When I visit before ye—my [INDISCERNIBLE 02:13:56] my staff.

    FERNANDO GATTORNO: Let’s clarify something. When was the last time you visited
    Vanny?

    MASPHAL KRY: Two or three years ago.

    DOROTHY MANERA: Three years ago?

    MASPHAL KRY: [INDISCERNIBLE 02:14:07]

    DOROTHY MANERA: Two or three years ago.

    MASPHAL KRY: Yeah. Maybe 3 year ago not two

    DOROTHY MANERA: Three?

    MASPHAL KRY: [INDISCERNIBLE 02:14:19]

    FERNANDO GATTORNO: And I’m sorry, you were sometimes accompanied by staff. How
    many?

    MASPHAL KRY: So we use to have a—[02:15:32] to have a [INDISCERNIBLE 02:14:34] to
    check the quota.

    FERNANDO GATTORNO: Who are they?



                                                                                           69
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    7171
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    MASPHAL KRY: Oh I’m sorry. I don’t remember them.

    FERNANDO GATTORNO: You don’t remember them?

    MASPHAL KRY: No, because they are [INDISCERNIBLE 02:14:46] in my department.

    FERNANDO GATTORNO: They they are just staff in your department?

    MASPHAL KRY: Uhum.

    FERNANDO GATTORNO: Okay.

    MASPHAL KRY: Uhum.

    FERNANDO GATTORNO: So, but they accompanied you?

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: Okay. Your car or their car?

    [02:15:00]

    MASPHAL KRY: [INDISCERNIBLE 02:15:00] because they had two company: one in Pursat
    and one in Phnom Penh. Sometimes I’d go Phnom Penh sometimes I go to a—a-- Pursat.

    FERNANDO GATTORNO: To Pursat.

    MASPHAL KRY: Sometimes I go for investigation and [INDISCERNABLE 02:15:25]

    DOROTHY MANERA: And what kind of investigation would you do?

    MASPHAL KRY: As I told you before that a-- count that they have a necklace or something
    that the animal is [INDISCERNIBLE 02:15:36] or not.

    FERNANDO GATTORNO: So, like an inspection report?

    MASPHAL KRY: Yeah. An inspection report.

    DOROTHY MANERA: And the only person that you dealt with from Vanny in Phnom Penh
    was the lady?

    MASPHAL KRY: [INDISCERNIBLE 02:15:53] so we had the staff back there not the lady.
    Sometimes we meet her, sometimes we are there so we had [INDISCERNIBLE 02:16:07] and
    we also had the local official.

    DOROTHY MANERA: And the local official would be…


                                                                                              70
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    7272
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    MASPHAL KRY: So, from my my [INDISCERNIBLE 02:16:25] and local official is around
    [INDISCERNIBLE 02:16:30] I think four people to eight people.

    FERNANDO GATTORNO: Okay.

    MASPHAL KRY: To do, what’s called, what was it called before? That the—investigate
    [INDISCERNIBLE 02:16:48].

    FERNANDO GATTORNO: Inspection.

    MASPHAL KRY: [INDISCERNIBLE 02:16:49] Inspection.

    FERNANDO GATTORNO: An inspection report. Want to get in it?

    DOROTHY MANERA: [INDISCERNIBLE 02:16:56]

    FERNANDO GATTORNO: Is there any reason why you would be delivering monkeys to
    Vanny?

    MASPHAL KRY: I don’t know.

    DOROTHY MANERA: We didn’t ask you that. We just, he asked is there any reason why you
    would be delivering monkeys to Vanny?

    MASPHAL KRY: Delivering the monkeys to Vanny?

    DOROTHY MANERA: Exactly.

    FERNANDO GATTORNO: Yes.

    MASPHAL KRY: No.

    FERNANDO GATTORNO: Never?

    MASPHAL KRY: No.

    DOROTHY MANERA: Did you ever bring monkeys to Vanny?

    MASPHAL KRY: No. No. No.

    FERNANDO GATTORNO: Okay. Is there any reason why your staff would deliver monkeys
    to Vanny?




                                                                                         71
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    7373
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    MASPHAL KRY: Umm- They, they have the the the money. They had the-- what's called?
    [INDISCERNIBLE 02:18:00] a-- because their farm is a-- like a-- 20 or 50 years ago like the –
    [INDISCERNIBLE 02:18:19] breeder, the [02:18:22] breeder. Is shortage. Old.

    DOROTHY MANERA: A breeder shortage?

    MASPHAL KRY: Old.

    FERNANDO GATTORNO: Translate that please.

    INTERPRETER: [FOREIGN LANGUAGE: Please speak again.].

    MASPHAL KRY: [FOREIGN LANGUAGE: The breeding parents are old. Please just
    translate that the breeding males are old.].

    INTERPRETER: Umm. The. The breeding. They kind of old, old breeding and.

    MASPHAL KRY: [FOREIGN LANGUAGE: So, the reproduction does not go that well.].

    INTERPRETER: So, they, um, they reproduction they a--, they a--, um, the the creation of the,
    the babies not too good. Not very good.

    FERNANDO GATTORNO: So, it’s not very good at, they’re not very good at reproducing?
    To say it another way.

    MASPHAL KRY: [FOREIGN LANGUAGE: First, the breeding does not go well because the
    parents are old.]--

    INTERPRETER: Yes

    INTERPRETER: So he says that the old. A— they, they, the male, the the female, the male
    the old are older, the baby is not very good.

    MASPHAL KRY: [FOREIGN LANGUAGE: That is why the company asked for the quota
    from the ministry.].

    INTERPRETER: That’s why they a-- the company asks for quota from …

    [02:20:01]

    MASPHAL KRY: [FOREIGN LANGUAGE: From the ministry, to get some males and
    females for breeding.].

    INTERPRETER: from the department so that they…

    MASPHAL KRY: No, no, no from the, from the ministry


                                                                                                    72
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    7474
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    INTERPRETER: Ministry. Sorry. From the ministry in order to for better breeding. Better
    male female a-- breeding.

    FERNANDO GATTORNO: So, I’m not quite understanding where that’s going. So, you did
    an inspection that said there wasn’t enough, like they’re not reproducing enough? You can
    translate.

    INTERPRETER: [FOREIGN LANGUAGE: There was an inspection that said the
    reproduction was not enough?].

    MASPHAL KRY: [FOREIGN LANGUAGE: We looked at the history of the company. They
    have been operating for a long time, for 20 years, so the parents must be old.].

    INTERPRETER: So. Ok. The company and the company is in the like the kind of a--, um, like
    a lot of, a lot of time, [INDISCERNIBLE 02:21:22] so the male and female are kind of older.

    MASPHAL KRY: [FOREIGN LANGUAGE: And the company wanted to be able to breed, so
    they asked for the quota from the ministry.].

    INTERPRETER: So, the company would like to breed, so they have to ask for a quota from
    the ministry.

    DOROTHY MANERA: What year was that?

    MASPHAL KRY: [FOREIGN LANGUAGE: And for the ministry to decide to give or not,
    there needed to have a research.].

    INTERPRETER: So in order to review the permit or documentation they had to put down
    [INDISCERNIBLE 02:22:24] to investigate and research. Research.

    MASPHAL KRY: Yeah to research.

    FERNANDO GATTORNO: So, did you ever attend a meeting where this conversation was
    happening?

    MASPHAL KRY: No.

    DOROTHY MANERA: And, just going back to the original question that Agent GATTORNO
    asked you, have any of your staff ever delivered monkeys to Vanny? Yes or no.

    MASPHAL KRY: [INDISCERNIBLE 02:22:43]

    DOROTHY MANERA: I’m sorry?

    MASPHAL KRY: I don’t know.


                                                                                                73
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    7575
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    INTERPRETER: I don’t --

    DOROTHY MANERA: You don’t know?

    INTERPRETER: [FOREIGN LANGUAGE: I don’t know.].

    MASPHAL KRY: [INDISCERNIBLE 02:22:51]

    DOROTHY MANERA: So, the staff under your supervision conducted business that you don’t
    know about?

    MASPHAL KRY: The can freedom to do that. They can go anywhere [INDISCERNIBLE
    02:23:01] they they go to school, they go to farm market, they go to village, [INDISCERNIBLE
    02:23:05].

    DOROTHY MANERA: While they’re at work, in their official capacity, under your
    supervision, have you ever directed any of your staff to deliver monkeys to Vanny?

    MASPHAL KRY: I never directed, I never directed. Never directed.

    INTERPRETER: I never directed. I never directed.

    FERNANDO GATTORNO: Who did?

    DOROTHY MANERA: Can you translate that? Who did?

    INTERPRETER: [FOREIGN LANGUAGE: Who directed?].

    MASPHAL KRY: [FOREIGN LANGUAGE: No one. I do not know about the information.].

    INTERPRETER: I don’t know. I I don’t know.

    FERNANDO GATTORNO: Okay.

    DOROTHY MANERA: Are you aware that anyone has delivered monkeys to Vanny?

    MASPHAL KRY: [FOREIGN LANGUAGE: I need to do research on it since the issue you
    asked is new to me. As what I told you, to get the quota in the country, there must be a study in
    details.].

    INTERPRETER: So, I need more information about this issue, and this issue we have to do a
    lot of study, and in order a-- to find out about a quota in the country.




                                                                                                        74
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    7676
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    FERNANDO GATTORNO: Okay. So, we can tell he’s, he’s obviously stressed about some of
    these lines of questioning, so I’m going to give you some softballs. Some easy questions. Can
    you translate?

    INTERPRETER: [FOREIGN LANGUAGE: You look stressful with the questions, so we
    would like to ask some easier questions instead.].

    [02:25:01]

    MASPHAL KRY: [FOREIGN LANGUAGE: What I want to tell them is that when the ministry
    is to provide the breeding males and females, there must be a study on its population across the
    country.].

    INTERPRETER: So, when they, minister, the ministry provides the breeding, the the breeding
    or reproduction. We have to study the population.

    FERNANDO GATTORNO: So, there’s a population study that’s done?

    MASPHAL KRY: Yeah.

    DOROTHY MANERA: Is it complete?

    MASPHAL KRY: Yes.

    INTERPRETER: Yes.

    DOROTHY MANERA: When, when. What year was it completed?

    MASPHAL KRY: [FOREIGN LANGUAGE: Maybe 2 or 3 years ago.].

    INTERPRETER: Two to three years ago.

    FERNANDO GATTORNO: What were the results of that study?

    MASPHAL KRY: [FOREIGN LANGUAGE: The result was acceptable. Most of the studies
    are on the monkeys that are in public places or the monkeys that bothers the farms.].

    INTERPRETER: The result was a-- can be, can be a-- taken or can be a—can be accepted,
    sorry, accepted properly because we studied the monkeys in the city. The monkeys that bothered
    the people in the marketplace.

    FERNANDO GATTORNO: And what are done with those monkeys?

    INTERPRETER: [FOREIGN LANGUAGE: What are done to those monkeys?].




                                                                                                  75
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    7777
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    MASPHAL KRY: [FOREIGN LANGUAGE: After we studied, we would report to the upper
    management whether to give the quota or not.].

    INTERPRETER: So after the study we reported to the upper management to e-- approve or not.

    DOROTHY MANERA: And what happened?

    INTERPRETER: [FOREIGN LANGUAGE: After that, what happened?].

    MASPHAL KRY: [FOREIGN LANGUAGE: If we consider that the monkeys in public places
    are in a great number, and they can bother the tourists, then we will approve.].

    INTERPRETER: So, the study found that the monkeys in the public places or -- bother the
    tourists. Then we make e— we make [INDISCERNIBLE 02:27:55] they may approve the
    decision.

    DOROTHY MANERA: Approved the decision to what?

    MASPHAL KRY: To have a quota.

    DOROTHY MANERA: To have a quota. So, you’re, so the quota is to capture--

    MASPHAL KRY: Yes.

    DOROTHY MANERA: Wild monkeys?

    MASPHAL KRY: No, not wild.

    DOROTHY MANERA: Okay if they’re in the public…

    MASPHAL KRY: In the public, in the pa—that sometime, they disturb the local people.

    DOROTHY MANERA: But they’re wild monkeys.

    MASPHAL KRY: No. No. [INDISCERNIBLE 02:28:23]

    DOROTHY MANERA: The mountains?

    MASPHAL KRY: Pardon? Not, not the mountains. [INDISCERNIBLE 02:28:32] There are a
    lot of monkeys there. They tend to attack tourists [INDISCERNIBLE 02:28:38]

    FERNANDO GATTORNO: Okay. So, what do you do with these monkeys?

    MASPHAL KRY: [FOREIGN LANGUAGE: We just approve the quota and our job is finished
    there. We do not know further. The minister approves, and our job is finished too.].



                                                                                              76
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    7878
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    INTERPRETER: So we question the order and and a—catch, and catch the monkeys…

    MASPHAL KRY: No, no. [FOREIGN LANGUAGE: No, no, not like that.].

    INTERPRETER: Oh, never mind.

    MASPHAL KRY: Then we finish the survey then we submit to the minister. Said Ok, its
    simply one, then minister can say [INDICERNIBLE 02:29:17] to the quota of one thousand or
    hundred, you know, for example if I no pay two thousand not enough he says oh
    [INDICERNIBLE 02:29:25] hundred, then they finish.

    FERNANDO GATTORNO: Okay. We still haven’t gotten to the point of what happens to the
    monkeys. What happens to those monkeys? Ok. You issue a quota for 500. What happens to
    those 500 monkeys? Where do they go?

    MASPHAL KRY: [FOREIGN LANGUAGE: I do not know on the matter. After we issue the
    quota, we do not know what the company does.].

    INTERPRETER: We issued the quota to them, the company do something-- we don’t know.

    [02:30:03]

    FERNANDO GATTORNO: You issue the quota to the company, then the company does
    something, but you don’t know? Is that-- Am I hearing that correctly?

    DOROTHY MANERA: And the quota that you issue to the company, your sa-- what does the
    quota allow the company? 500 wild? They can go and collect wild? What about the quota?

    MASPHAL KRY: [FOREIGN LANGUAGE: Not wild.].

    DOROTHY MANERA: What is the quota? What are you -- I don’t understand what you’re
    talking about.

    INTERPRETER: [FOREIGN LANGUAGE: How about the point. I do not understand at all.].

    MASPHAL KRY: [FOREIGN LANGUAGE: Let’s say, the company request for breeding
    males and females.].

    INTERPRETER: So the, the company ask for the e—the breeding. The male or female.

    MASPHAL KRY: [FOREIGN LANGUAGE: Let’s say, they request for 100 to breed with
    their existing ones.].

    INTERPRETER: So, they would ask and request for 100 to breed, and if …




                                                                                                77
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    7979
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    MASPHAL KRY: [FOREIGN LANGUAGE: So, we study in public places if there are enough
    to give them the approval.].

    INTERPRETER: And so we study the public places, whether the [INDISCERNIBLE 02:31:18]
    of numbers of monkeys is enough for that purpose [INDISCERNIBLE 02:31:33].

    MASPHAL KRY: [FOREIGN LANGUAGE: After that, if we consider that we can approve
    based on the study, then the ministry will approve the request of the 100.].

    INTERPRETER: So, if we can allow this number, so we will e—[INDISCERNIBLE 02:32:00]
    the ministry and its to allow this quota. [INDISCERNIBLE 02:32:12]

    FERNANDO GATTORNO: We’re dancing around. We’re dancing around the issue.
    Obviously, that wasn’t as soft, as I thought it was softball. So, here’s another one. Is it legal or
    illegal to export wild monkeys from Cambodia?

    MASPHAL KRY: [FOREIGN LANGUAGE: For this matter…]

    INTERPRETER: [FOREIGN LANGUAGE: Because…] Pardon..

    MASPHAL KRY: [FOREIGN LANGUAGE: Please translate.].

    INTERPRETER: [INDISCERNIBLE 02:32:35] can you ask the question to make sure that he
    [INDISCERNIBLE 02:32:36].

    FERNANDO GATTORNO: Okay. Is it legal or illegal to export wild monkeys from
    Cambodia?

    DOROTHY MANERA: Can you translate that?

    INTERPRETER: Ye—I’m so-- Oh, okay. [FOREIGN LANGUAGE: Is it illegal for legal to
    export wild monkeys from Cambodia?].

    MASPHAL KRY: [FOREIGN LANGUAGE: If they take [the monkeys] from the forest and
    bring them illegally to their farms, then it is illegal. As what I said, if they received the quota to
    collect, they can collect and breed them. Only the children of the second generations (S2) are
    allowed to be exported.].

    INTERPRETER: So, first if it’s caught from the from the from the forest, it is illegal. But e--
    But if they, if they collected all the monkeys and try to breed them, for the second generation,
    and is then, is not legal, is not illegal.

    FERNANDO GATTORNO: Right. That would be a captive-bred monkey.

    MASPHAL KRY: [FOREIGN LANGUAGE: Yes].



                                                                                                             78
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    8080
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    INTERPRETER: Yes. Yes.

    FERNANDO GATTORNO: What I’m talking about is a monkey that comes from the wild,
    goes into a breeding center, and then is immediately exported.

    MASPHAL KRY: [FOREIGN LANGUAGE: I have not received any information on the
    matter.].

    DOROTHY MANERA: What did he say?

    INTERPRETER: So, he said that at this question I did not receive any information.

    DOROTHY MANERA: Okay.

    MASPHAL KRY: [FOREIGN LANGUAGE: Because my department also follows and
    investigates this matter].

    INTERPRETER: Because my director of my department is researched and studied this issue as
    well.

    DOROTHY MANERA: Okay so just --

    MASPHAL KRY: [FOREIGN LANGUAGE]

    DOROTHY MANERA: Wait a second, wait a second, if you could just tell him this. We
    understand that he’s in a bad position here.

    [02:35:02]

    INTERPRETER: [FOREIGN LANGUAGE: We understand that you are in a bad position.].

    DOROTHY MANERA: And we know that he knows about the wild monkeys being delivered
    to the farms.

    INTERPRETER: [FOREIGN LANGUAGE: We know that you know about the wild monkeys
    taken to the farms.].

    MASPHAL KRY: No.

    DOROTHY MANERA: We know that he has personally delivered wild monkeys.

    INTERPRETER: [FOREIGN LANGUAGE: I know that you personally delivered the
    monkeys.].

    DOROTHY MANERA: We’re not going to sit here and continue to have these discussions and
    let him lie.


                                                                                           79
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    8181
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    INTERPRETER: [FOREIGN LANGUAGE: We are not going to sit here and continue
    discussing and let you lie.].

    DOROTHY MANERA: We understand that you may not be able or want to talk openly about
    this ac-- illegal activity.

    INTERPRETER: [FOREIGN LANGUAGE: We know that you do not want to openly talk or
    discuss about this illegal activity.].

    DOROTHY MANERA: Because it may cause you danger to yourself.

    INTERPRETER: [FOREIGN LANGUAGE: Because it may cause danger to your yourself.].

    DOROTHY MANERA: So, if you want to continue to speak to us and tell the truth, we’ll sit
    and listen. If you don’t want to talk anymore, that’s fine too.

    INTERPRETER: [FOREIGN LANGUAGE: So, if you want to continue to sit and tell us the
    truth, you can do that. But, if not, you do not need to speak.].

    DOROTHY MANERA: But we don’t want you to lie and make up stories about what’s going
    on.

    INTERPRETER: [FOREIGN LANGUAGE: But we so not want you to lie and make up stories
    about what happened.].

    DOROTHY MANERA: Because, as you can imagine, you’re being arrested today for these
    activities. So, we have plenty of evidence.

    INTERPRETER: [FOREIGN LANGUAGE: As you know, you are being arrested today
    because we have sufficient information and evidences.].

    MASPHAL KRY: [FOREIGN LANGUAGE: For the case of delivering wild monkeys to the
    farms, I do not know about that.].

    INTERPRETER: For the location for the wild monkeys bring into the farm, I do not know.

    MASPHAL KRY: [FOREIGN LANGUAGE: Our side is also working on the case. I do not
    know.].

    FERNANDO GATTORNO: I’ve got one more.

    DOROTHY MANERA: Yeah, go ahead.

    FERNANDO GATTORNO: I’ve got one more…



                                                                                               80
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    8282
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    INTERPRETER: And my department will be working on this issue as well.

    FERNANDO GATTORNO: Okay. I’ve got one more question.

    [BACKGROUND CONVERSATION]

    FERNANDO GATTORNO: Sure. Did you ever authorize your staff to collect monkeys from
    Phnom Tamao area that was cleared?

    MASPHAL KRY: No, no, no.

    DOROTHY MANERA: Did your staff ever remove monkeys from Phnom Tamao?

    MASPHAL KRY: No.

    DOROTHY MANERA: Did you ever take monkeys from Phnom Tamao?

    MASPHAL KRY: No. Monthly…

    DOROTHY MANERA: Long tail macaques.

    MASPHAL KRY: [INDISCERNIBLE 02:38:28] understand, monthly, has to go because there
    are a lot of a lot of complaint from the public, they disrespect the tourists they
    [INDISCERNIBLE 02:38:41] So even from from Embassy in Cambodia [INDISCERNIBLE
    02:38:51] and to there [INDISCERNIBLE 02:38:55] Embassy there complained to us so as not
    to caught the monkeys. So, we caught the monkey and put a track [INDISCERNIBLE 02:39:04]
    and then we bring them to zoo to Tamao and make them [INDISCERNIBLE 02:39:12] make
    sure they’re healthy and then they brough [INDISCERNIBLE 02:39:21] brought it to release in
    the wild.

    FERNANDO GATTORNO: So, they release them in the wild.

    MASPHAL KRY: They release in the wild.

    FERNANDO GATTORNO: Did you authorize this? You authorized the release?

    MASPHAL KRY: No. They have another team to do that.

    FERNANDO GATTORNO: Who authorizes the team to capture and to release?

    MASPHAL KRY: The the the capture is for the team from the zoo.

    DOROTHY MANERA: Um.

    FERNANDO GATTORNO: Okay.



                                                                                              81
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    8383
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    MASPHAL KRY: The team from the zoo they then they help the the farm and the help that the
    farm that they complain from another people so they go there then they return and then they
    [INDISCERNIBLE 02:39:46] in the zoo.

    FERNANDO GATTORNO: Are you the team leader?

    MASPHAL KRY: No.

    FERNANDO GATTORNO: Do you have oversight over that team?

    MASPHAL KRY: What do you mean oversight?

    FERNANDO GATTORNO: Do you supervise that team?

    MASPHAL KRY: No. A-- I just inform them [INDISCERNIBLE 02:40:00] sometimes the
    document is assigned to a woman in [INDISCERNIBLE 02:40:03] sometimes we watch e—
    Facebook, sometimes they complain [INDISCERNIBLE 02:40:10].

    [02:40:04]

    FERNANDO GATTORNO: Okay. That’s over there. I’m talking about your staff. I’m talking
    about the people that work for you. Do you instruct them? Do they tell you we have 300
    monkeys? Do you say go and release those monkeys?

    MASPHAL KRY: I haven’t to people in to this area this area.

    FERNANDO GATTORNO: So, you tell them release them here, release them there?

    MASPHAL KRY: Um. Because the last time we released one area, there’s a there’s a disturb
    because you know the the domestic [INDISCERNIBLE 02:40:47] in the park they use to come
    to one village from the [INDISCERNIBLE 02:40:51] then they come back to the village.

    DOROTHY MANERA: Uhum.

    MASPHAL KRY: [INDISCERNIBLE 02:41:02] they go there again. So, when when because
    my department also, I [INDISCERNIBLE 02:41:04] the forest area.

    FERNANDO GATTORNO: Uhum

    MASPHAL KRY: So sometimes we can leave a monkey [INDISCERNIBLE 02:41:09] go
    back and go and check there is possible or not and [INDISCERNIBLE 02:41:12] or not. So the
    thing they go there and check the forest area they talk to local people because…

    DOROTHY MANERA: Before before before you go on that route, with the surveys, for the
    areas that you mentioned before?



                                                                                                 82
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    8484
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1

    MASPHAL KRY: Uhum.

    DOROTHY MANERA: Who conducted the surveys and where are the records of the surveys?
    In your office?

    MASPHAL KRY: Yes.

    FERNANDO GATTORNO: So, you have oversight over those surveys?

    MASPHAL KRY: I need to survey probably three years ago.

    FERNANDO GATTORNO: So, you’re the one that sees the surveys and makes the
    recommendations?

    MASPHAL KRY: When we collect our information together when we can do the the a—
    what’s called? The analysis.

    FERNANDO GATTORNO: Okay.

    DOROTHY MANERA: And these are population surveys?

    MASPHAL KRY: Yeah, population survey. They study what’s called? A—
    [INDISCERNIBLE 02:42:13] what’s called? The the breeding, [INDISCERNIBLE 02:42:19]
    something like that. What we do survey, we we we try to understand how many male ma ---
    female [INDISCERNIBLE 02:42:24] breeder…

    DOROTHY MANERA: And are these survey reports provided to the CITES management
    Authority?

    MASPHAL KRY: No.

    DOROTHY MANERA: Why not?

    MASPHAL KRY: They did not required it.

    DOROTHY MANERA: They say not required it?

    MASPHAL KRY: Yeah.

    DOROTHY MANERA: Okay. Who directed you to do the surveys?

    MASPHAL KRY: Ah, I told you.

    DOROTHY MANERA: Your boss? Omaliss?

    MASPHAL KRY: Yes.


                                                                                              83
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    8585
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    DOROTHY MANERA: When was the last time you directed it? Was that three years ago?

    MASPHAL KRY: I think, yeah, probably, three years ago.

    DOROTHY MANERA: But that’s, those surveys were not provided to anyone else outside of
    Cambodia? They were not provided to the CITES management authority?

    MASPHAL KRY: Because they they do not require that one. Because they they need the right
    to try to do survey and but for the problem monkey.

    DOROTHY MANERA: The what?

    FERNANDO GATTORNO: Problem monkey.

    MASPHAL KRY: No.

    DOROTHY MANERA: Oh, just the problem monkeys?

    MASPHAL KRY: No, the [INDISCERNIBLE 02:43:44] need the help [INDISCERNIBLE
    02:43:45].

    DOROTHY MANERA: Not in the protected area?

    MASPHAL KRY: Not in the protected area. Only the problem monkey in the park…

    DOROTHY MANERA: Okay.

    MASPHAL KRY: In the public area. These is where we have problem.

    DOROTHY MANERA: Okay.

    FERNANDO GATTORNO: Okay.

    MASPHAL KRY: So, this is the problem [INDISCERNIBLE 02:43:59] but these from the
    wild. But we not allowed to collect from the wild.

    DOROTHY MANERA: You’re not allowed to collect from the wild?

    MASPHAL KRY: You’re not.

    FERNANDO GATTORNO: Because it’s against Cambodian law?

    MASPHAL KRY: Yeah.

    FERNANDO GATTORNO: Correct.


                                                                                          84
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    8686
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    MASPHAL KRY: It’s is is is is is not a [INDISCERNIBLE 02:44:24] that a-- if you need to
    collect in the wild you have to study [INDISCERNIBLE 02:44:34] followed by some type
    recommendation because non [INDISCERNIBLE 02:44:42] finding.

    DOROTHY MANERA: Non-detrimental findings.

    MASPHAL KRY: Yeah. So, if one company want to collect the wild they have to do the study
    [INDISCERNIBLE 02:44:451].

    DOROTHY MANERA: Has anybody done one?

    MASPHAL KRY: No. Nobody.

    DOROTHY MANERA: All right.

    MASPHAL KRY: So in the domestic because they are [INDISCERNIBLE 02:45:00] and
    sitting around almost hundred ordered a complaint. Even the Embassy has a complaint.

    [02:45:09]

    DOROTHY MANERA: Uhum.

    MASPHAL KRY: Yeah. So, even too much time to collect them a-- probably
                  [INDISCERNIBLE 02:45:15] through the forest back, then
                  [INDISCERNIBLE 02:45:19] again and again.


    FERNANDO GATTORNO: So, at what point do they go into the breeding farms?

    MASPHAL KRY: I no--

    FERNANDO GATTORNO: [INDISCERNIBLE 02:45:26] collect them from zoo, collect from
    the forest, but the one thing you’re missing is the ones that go to the farms. That’s what we’re
    very much interested in.

    MASPHAL KRY: That’s that’s one I also want to know about that.

    FERNANDO GATTORNO: All right.

    MASPHAL KRY: Yeah. Yeah.

    DOROTHY MANERA: Ok. Well, we already know about it, okay? Because you’re part of it,
    and you were delivering wild monkeys to the farms. So, we know that.

    MASPHAL KRY: No, no, no.


                                                                                                  85
Case
 Case1:22-cr-20340-KMW
      1:22-cr-20340-KMW Document
                            Document60-2
                                      105-3Entered
                                              Entered
                                                    onon
                                                       FLSD
                                                         FLSD
                                                            Docket
                                                              Docket
                                                                   02/17/2023
                                                                     04/26/2023Page
                                                                                 Page
                                                                                    8787
                                                                                       of of
                                                                                          87
                                              87
         Transcript of Recorded Audio Interview (MK-GOV-0000241) 4892-0216-4559 v.1



    DOROTHY MANERA: Yes. And that’s why we’re going to, I’m not going to
    [INDISCERNIBLE 02:45:52].

    FERNANDO GATTORNO: I’m not going to entertain you continuing to lie.

    MASPHAL KRY: May I have a-- [INDISCERNIBLE 02:45:57].


    FERNANDO GATTORNO: I’m going for that. Let me open the door here real quick and we’ll
    get somebody in here. Stand by.

    [BACKGROUND NOISE]

    MALE 1: Yeah, the airport environment.

    FERNANDO GATTORNO: Can I get a bottle of water if you don’t mind? Bottled water,
    come on now. Standby. Let me do this real quick. Okay, do this.

    DOROTHY MANERA: That is not working.

    FERNANDO GATTORNO: Okay. The time is approximately 1:06 p.m. on November 16,
    2022. This is special agent Fernando Gattorno with the U.S. Fish and Wildlife Service. We are
    concluded speaking to Mr. Masphal Kry.

    [02:46:54]




                                                                                                    86
